       Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 1 of 112




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CORECO JA’QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO,                     CIVIL ACTION FILE NO.
GLORIA KAY GODWIN, JAMES                      1:20-cv-04809-TCB
KENNETH CARROLL, CAROLYN
HALL FISHER, CATHLEEN ALSTON
LATHAM, and BRIAN JAY VAN
GUNDY,

            Plaintiffs,

v.

BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official
capacity as Secretary of State and Chair of
the Georgia State Election Board, DAVID
J. WORLEY, in his official capacity as a
member of the Georgia State Election
Board, REBECCA N. SULLIVAN, in her
official capacity as a member of the
Georgia State Election Board,
MATTHEW MASHBURN, in his official
capacity as a member of the Georgia State
Election Board, and ANH LE, in her
official capacity as a member of the
Georgia State Election Board,

            Defendants.


        INTERVENOR-DEFENDANTS’ ANSWER TO PLAINTIFFS’
     AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                         RELIEF
        Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 2 of 112




        Proposed Intervenor-Defendants, the Democratic Party of Georgia, Inc.

(“DPG”), the DSCC, and the DCCC (collectively, the “Democratic Political Party

Committees”) by and through their attorneys, answer Plaintiffs’ Amended

Complaint for declaratory and injunctive relief (hereafter, “Plaintiffs’ Complaint”)

as set forth below. Unless expressly admitted, each allegation in the complaint is

denied, and the Democratic Political Party Committees demand strict proof

thereof.

                            NATURE OF THE ACTION

        Responding to the unnumbered introductory paragraph and the footnote

referenced therein, the Democratic Political Party Committees deny the allegations.

   1.         Paragraph 1 of Plaintiffs’ Complaint states:

        As a civil action, the Plaintiffs’ burden of proof is a “preponderance of the
        evidence” to show, as the Georgia Supreme Court has made clear that, “[i]
        was not incumbent upon [Plaintiff] to show how the [] voters would have
        voted if their [absentee] ballots had been regular. [Plaintiff] only had to
        show that there were enough irregular ballots to place in doubt the result.”
        Mead v. Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (2004) (citing
        Howell v. Fears, 275 Ga. 627, 571 S.E.2d 392 (2002).

        Answer: The Democratic Political Party Committees admit that the quoted

        language is from Mead. To the extent Plaintiffs’ characterization and

        interpretation of the cited law differs from the text of the cited cases, the

        Democratic Political Party Committees deny the allegations.

                                           0
     Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 3 of 112




2.         Paragraph 2 of Plaintiffs’ Complaint states:

     The scheme and artifice to defraud was for the purpose of illegally and
     fraudulently manipulating the vote count to make certain the election of Joe
     Biden as President of the United States.

     Answer: Denied.

3.         Paragraph 3 of Plaintiffs’ Complaint states:

     The fraud was executed by many means, but the most fundamentally
     troubling, insidious, and egregious is the systemic adaptation of old-
     fashioned “ballot-stuffing.” It has now been amplified and rendered
     virtually invisible by computer software created and run by domestic and
     foreign actors for that very purpose. Mathematical and statistical anomalies
     rising to the level of impossibilities, as shown by affidavits of multiple
     witnesses, documentation, and expert testimony evince this scheme across
     the state of Georgia. Especially egregious conduct arose in Forsyth,
     Paulding, Cherokee, Hall, and Barrow County. This scheme and artifice to
     defraud affected tens of thousands of votes in Georgia alone and “rigged”
     the election in Georgia for Joe Biden.

     Answer: Denied.

4.         Paragraph 4 of Plaintiffs’ Complaint states:

     The massive fraud begins with the election software and hardware from
     Dominion Voting Systems Corporation (“Dominion”) only recently
     purchased and rushed into use by Defendants Governor Brian Kemp,
     Secretary of State Brad Raffensperger, and the Georgia Board of Elections.
     Sequoia voting machines were used in 16 states and the District of Colombia
     in 2006. Smartmatic, which has revenue of about $100 million, focuses on
     Venezuela and other markets outside the U.S. After selling Sequoia,
     Smartmatic's chief executive, Anthony Mugica. Mr. Mugica said, he hoped
     Smartmatic would work with Sequoia on projects in the U.S., though
     Smartmatic wouldn't take an equity stake.” Id.

                                       1
     Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 4 of 112




     Answer: The Democratic Political Party Committees deny that any fraud

     occurred with respect to the Dominion Voting Systems Corporation

     (“Dominion”) election software and hardware. The Democratic Political Party

     Committees lack sufficient information to admit or deny the remaining

     allegations in Paragraph 4 of Plaintiffs’ Complaint and on that basis deny the

     same.

5.           Paragraph 5 of Plaintiffs’ Complaint states:

     Smartmatic and Dominion were founded by foreign oligarchs and dictators
     to ensure computerized ballot-stuffing and vote manipulation to whatever
     level was needed to make certain Venezuelan dictator Hugo Chavez never
     lost another election. (See Redacted whistleblower affiant, attached as Exh.
     2) Notably, Chavez “won” every election thereafter.

     Answer: Denied.

6.           Paragraph 6 of Plaintiffs’ Complaint states:

     As set forth in the accompanying whistleblower affidavit, the Smartmatic
     software was designed to manipulate Venezuelan elections in favor of
     dictator Hugo Chavez:

     Smartmatic’s electoral technology was called “Sistema de Gestión Electoral”
     (the “Electoral Management System”). Smartmatic was a pioneer in this area
     of computing systems. Their system provided for transmission of voting data
     over the internet to a computerized central tabulating center. The voting
     machines themselves had a digital display, fingerprint recognition feature to
     identify the voter, and printed out the voter’s ballot. The voter’s thumbprint
     was linked to a computerized record of that voter’s identity. Smartmatic
     created and operated the entire system.

                                         2
     Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 5 of 112




     Answer: The Democratic Political Party Committees admit that the quoted

     language is from the affidavit attached to Plaintiffs’ Complaint. The

     Democratic Political Party Committees lack knowledge and information

     sufficient to form a belief about the truth of the substance of the quoted

     language or any other or different allegation in Paragraph 6 and, on that basis,

     deny the same.

7.         Paragraph 7 of Plaintiffs’ Complaint states:

     A core requirement of the Smartmatic software design was the software’s
     ability to hide its manipulation of votes from any audit. As the
     whistleblower explains:

     Chavez was most insistent that Smartmatic design the system in a way that
     the system could change the vote of each voter without being detected. He
     wanted the software itself to function in such a manner that if the voter were
     to place their thumb print or fingerprint on a scanner, then the thumbprint
     would be tied to a record of the voter’s name and identity as having voted,
     but that voter would not be tracked to the changed vote. He made it clear
     that the system would have to be setup to not leave any evidence of the
     changed vote for a specific voter and that there would be no evidence to
     show and nothing to contradict that the name or the fingerprint or thumb
     print was going with a changed vote. Smartmatic agreed to create such a
     system and produced the software and hardware that accomplished that
     result for President Chavez. (See Id., see also Exh. 3, Aff. Cardozo, attached
     hereto)).

     Answer: The Democratic Political Party Committees admit that the quoted

     language is from the affidavit attached to Plaintiffs’ Complaint. The

     Democratic Political Party Committees lack knowledge and information
                                         3
     Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 6 of 112




     sufficient to form a belief as to the truth of the substance of the quoted

     language and of each and every other allegation in Paragraph 7 and, on that

     basis, deny the same.

8.         Paragraph 8 of Plaintiffs’ Complaint states:

     The design and features of the Dominion software do not permit a simple
     audit to reveal its misallocation, redistribution, or deletion of votes. First, the
     system's central accumulator does not include a protected real-time audit log
     that maintains the date and time stamps of all significant election events.
     Key components of the system utilize unprotected logs. Essentially this
     allows an unauthorized user the opportunity to arbitrarily add, modify, or
     remove log entries, causing the machine to log election events that do not
     reflect actual voting tabulations—or more specifically, do not reflect the
     actual votes of or the will of the people. (See Hursti August 2019
     Declaration, attached hereto as Exh. 4, at pars. 45-48; and attached hereto, as
     Exh. 4B, October 2019 Declaration in Document 959-4, at p. 18, par. 28).

     Answer: The Democratic Political Party Committees lack sufficient

     information to admit or deny the allegations in Paragraph 8 of Plaintiffs’

     Complaint and on that basis deny the same.

9.         Paragraph 9 of Plaintiffs’ Complaint states:

     Indeed, under the professional standards within the industry in auditing and
     forensic analysis, when a log is unprotected, and can be altered, it can no
     longer serve the purpose of an audit log. There is incontrovertible physical
     evidence that the standards of physical security of the voting machines and
     the software were breached, and machines were connected to the internet in
     violation of professional standards and state and federal laws. (See Id.)



                                          4
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 7 of 112




      Answer: The Democratic Political Party Committees deny that there is any

      physical evidence, much less incontrovertible physical evidence, that the

      standards of physical security of the voting machines and the software were

      breached and that machines were connected to the internet in violation of

      professional standards and state and federal laws. The Democratic Political

      Party Committees lack sufficient information to admit or deny the remaining

      allegations in Paragraph 9 of Plaintiffs’ Complaint and on that basis deny the

      same.

10.           Paragraph 10 of Plaintiffs’ Complaint states:

      Moreover, lies and conduct of Fulton County election workers about a delay
      in voting at State Farm Arena and the reasons for it evince the fraud.

      Answer: Denied.

11.           Paragraph 11 of Plaintiffs’ Complaint states:

      Specifically, video from the State Farm Arena in Fulton County shows that
      on November 3rd after the polls closed, election workers falsely claimed a
      water leak required the facility to close. All poll workers and challengers
      were evacuated for several hours at about 10:00 PM. However, several
      election workers remained unsupervised and unchallenged working at the
      computers for the voting tabulation machines until after 1:00 AM.

      Answer: The Democratic Political Party Committees admit that election

      workers were evacuated from the State Farm Arena in Fulton County for

      several hours starting at approximately 10:00 PM on November 3, 2020. The

                                         5
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 8 of 112




      Democratic Political Party Committees deny that election workers falsely

      claimed that such a water leak occurred. The Democratic Political Party

      Committees lack knowledge or information sufficient to form a belief as to

      the truth of the remaining allegations of Paragraph 11 and, on that basis, deny

      the same.

12.          Paragraph 12 of Plaintiffs’ Complaint states:

      Defendants Kemp and Raffensperger rushed through the purchase of
      Dominion voting machines and software in 2019 for the 2020 Presidential
      Election. A certificate from the Secretary of State was awarded to Dominion
      Voting Systems but is undated. (See attached hereto Exh. 5, copy
      Certification for Dominion Voting Systems from Secretary of State).
      Similarly a test report is signed by Michael Walker as Project Manager but is
      also undated. (See Exh. 6, Test Report for Dominion Voting Systems,
      Democracy Suite 5-4-A)

      Answer: The Democratic Political Party Committees admit that the copy of

      the Certificate for Dominion Voting Systems in Plaintiffs’ Exhibit 5 and the

      copy of the test report in Plaintiffs’ Exhibit 6 do not contain signatures. The

      Democratic Political Party Committees lack knowledge or information

      sufficient to form a belief as to the truth of the remaining allegations of

      Paragraph 12 and, on that basis, deny the same.

13.          Paragraph 13 of Plaintiffs’ Complaint states:

      Defendants Kemp and Raffensperger disregarded all the concerns that
      caused Dominion software to be rejected by the Texas Board of Elections in

                                         6
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 9 of 112




      2018, namely that it was vulnerable to undetected and non-auditable
      manipulation. An industry expert, Dr. Andrew Appel, Princeton Professor of
      Computer Science and Election Security Expert has recently observed, with
      reference to Dominion Voting machines: "I figured out how to make a
      slightly different computer program that just before the polls were closed, it
      switches some votes around from one candidate to another. I wrote that
      computer program into a memory chip and now to hack a voting machine
      you just need 7 minutes alone with it and a screwdriver." (Attached hereto
      Exh. 7, Study, Ballot-Marking Devices (BMDs) Cannot Assure the Will of
      the Voters by Andrew W. Appel Princeton University, Richard A. DeMillo,
      Georgia Tech Philip B. Stark, for the Univ. of California, Berkeley,
      December 27, 2019).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from Plaintiffs’ Exhibit 7. The Democratic Political Party

      Committees lack knowledge or information sufficient to form a belief as to

      the truth of the remaining allegations of Paragraph 13 and, on that basis, deny

      the same.

14.          Paragraph 14 of Plaintiffs’ Complaint states:

      As explained and demonstrated in the accompanying redacted declaration of
      a former electronic intelligence analyst under 305th Military Intelligence
      with experience gathering SAM missile system electronic intelligence, the
      Dominion software was accessed by agents acting on behalf of China and
      Iran in order to monitor and manipulate elections, including the most recent
      US general election in 2020. This Declaration further includes a copy of the
      patent records for Dominion Systems in which Eric Coomer is listed as the
      first of the inventors of Dominion Voting Systems. (See Attached hereto as
      Exh. 8, copy of redacted witness affidavit, 17 pages, November 23, 2020).



                                         7
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 10 of 112




      Answer: The Democratic Political Party Committees admit that the copy of

      the patent records for Dominion Systems in Exhibit 8 list Eric Coomer as the

      first of the inventors of Dominion Voting Systems and deny the remaining

      allegations in Paragraph 14.

15.          Paragraph 15 of Plaintiffs’ Complaint states:

      Expert Navid Keshavarez-Nia explains that US intelligence services had
      developed tools to infiltrate foreign voting systems including Dominion. He
      states that Dominion’s software is vulnerable to data manipulation by
      unauthorized means and permitted election data to be altered in all
      battleground states. He concludes that hundreds of thousands of votes that
      were cast for President Trump in the 2020 general election were transferred
      to former Vice-President Biden. (Exh. 26).

      Answer: The Democratic Political Party Committees admit that Exhibit 26

      to Plaintiffs’ Complaint makes the same allegations as Paragraph 15 and deny

      the substance of those allegations and any other or different allegations in

      Paragraph 15.

16.          Paragraph 16 of Plaintiffs’ Complaint states:

      Additionally, incontrovertible evidence Board of Elections records
      demonstrates that at least 96,600 absentee ballots were requested and
      counted but were never recorded as being returned to county election boards
      by the voter. Thus, at a minimum, 96,600 votes must be disregarded. (See
      Attached hereto, Exh. 9, R. Ramsland Aff.).

      Answer: Denied.



                                        8
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 11 of 112




17.          Paragraph 17 of Plaintiffs’ Complaint states:

      The Dominion system used in Georgia erodes and undermines the
      reconciliation of the number of voters and the number of ballots cast, such
      that these figures are permitted to be unreconciled, opening the door to ballot
      stuffing and fraud. The collapse of reconciliation was seen in Georgia’s
      primary and runoff elections this year, and in the November election, where
      it was discovered during the hand audit that 3,300 votes were found on
      memory sticks that were not uploaded on election night, plus in Floyd
      county, another 2,600 absentee ballots had not been scanned. These “found
      votes” reduced Biden’s lead over Donald Trump.

      Answer: The Democratic Political Party Committees admit that recounts

      discovered some previously uncounted votes and deny every remaining

      allegation in Paragraph 17.

18.          Paragraph 18 of Plaintiffs’ Complaint states:

      Georgia’s election officials and poll workers exacerbated and helped,
      whether knowingly or unknowingly, the Dominion system carry out massive
      voter manipulation by refusing to observe statutory safeguards for absentee
      ballots. Election officials failed to verify signatures and check security
      envelopes. They barred challengers from observing the count, which also
      facilitated the fraud.

      Answer: Denied.

19.          Paragraph 19 of Plaintiffs’ Complaint states:

      Expert analysis of the actual vote set forth below demonstrates that at least
      96,600 votes were illegally counted during the Georgia 2020 general
      election. All of the evidence and allegation herein is more than sufficient to
      place the result of the election in doubt. More evidence arrives by the day
      and discovery should be ordered immediately.

                                         9
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 12 of 112




      Answer: Denied.

20.          Paragraph 20 of Plaintiffs’ Complaint states:

      Georgia law, (OCGA 21-5-552) [sic] provides for a contest of an election
      where:

      (1) Misconduct, fraud, or irregularity by any primary or election official or
      officials sufficient to change or place in doubt the result; . . . (3) When
      illegal votes have been received or legal votes rejected at the polls sufficient
      to change or place in doubt the result; (4) For any error in counting the votes
      or declaring the result of the primary or election, if such error would change
      the result; or (5) For any other cause which shows that another was the
      person legally nominated, elected, or eligible to compete in a run-off
      primary or election.

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from O.C.G.A. § 21-5-522 and deny each other or different

      allegation.

21.          Paragraph 21 of Plaintiffs’ Complaint states:

      As further set forth below, all of the above grounds have been satisfied and
      compel this Court to set aside the 2020 General Election results which
      fraudulently concluded that Mr. Biden defeated President Trump by 12,670
      votes.

      Answer: Denied.

22.          Paragraph 22 of Plaintiffs’ Complaint states:

      Separately, and independently, there are sufficient Constitutional grounds to
      set aside the election results due to the Defendants’ failure to observe
      statutory requirements for the processing and counting of absentee ballots
      which led to the tabulation of more than fifty thousand illegal ballots.
                                         10
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 13 of 112




      Answer: Denied.

                                  THE PARTIES
23.          Paragraph 23 of Plaintiffs’ Complaint states:

      Plaintiff Coreco Ja’Qan (“CJ”) Pearson, is a registered voter who resides in
      Augusta, Georgia. He is a nominee of the Republican Party to be a
      Presidential Elector on behalf of the State of Georgia. He has standing to
      bring this action under Carson v. Simon, 2020 US App Lexis 34184 (8th Cir.
      Oct. 29, 2020). He brings this action to set aside and decertify the election
      results for the Office of President of the United States that was certified by
      the Georgia Secretary of State on November 20, 2020. The certified results
      showed a plurality of 12,670 votes in favor of former Vice-President Joe
      Biden over President Trump.

      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations in the

      first sentence of Paragraph 23. These allegations are therefore denied. The

      Democratic Political Party Committees admit that Plaintiff Coreco Ja’Qan

      Pearson is listed as a nominee of the Republican Party to be a Presidential

      Elector on the Georgia Secretary of State’s website. The Democratic Political

      Party Committees deny that Plaintiff Pearson has Article III standing to bring

      this action. The Democratic Political Party Committees admit the last sentence

      of Paragraph 23.

24.          Paragraph 24 of Plaintiffs’ Complaint states:



                                         11
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 14 of 112




      Plaintiff Vikki Townsend Consiglio, is a registered voter who resides in
      Henry County, Georgia. She is a nominee of the Republican Party to be a
      Presidential Elector on behalf of the State of Georgia.

      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations in the

      first sentence of Paragraph 24. These allegations are therefore denied. The

      Democratic Political Party Committees admit that Plaintiff Vikki Townsend

      Consiglio is listed as a nominee of the Republican Party to be a Presidential

      Elector on the Georgia Secretary of State’s website.

25.          Paragraph 25 of Plaintiffs’ Complaint states:

      Plaintiff Gloria Kay Godwin, is a registered voter who resides in Pierece
      County, Georgia. She is a nominee of the Republican Party to be a
      Presidential Elector on behalf of the State of Georgia.

      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations in the

      first sentence of Paragraph 25. These allegations are therefore denied. The

      Democratic Political Party Committees admit that Plaintiff Gloria Kay

      Godwin is listed as a nominee of the Republican Party to be a Presidential

      Elector on the Georgia Secretary of State’s website.

26.          Paragraph 26 of Plaintiffs’ Complaint states:



                                         12
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 15 of 112




      Plaintiff James Kenneth Carroll, is a registered voter who resides in Dodge
      County, Georgia. He is a nominee of the Republican Party to be a
      Presidential Elector on behalf of the State of Georgia.

      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations in the

      first sentence of Paragraph 26. These allegations are therefore denied. The

      Democratic Political Party Committees admit that Plaintiff James Kenneth

      Carroll is listed as a nominee of the Republican Party to be a Presidential

      Elector on the Georgia Secretary of State’s website.

27.          Paragraph 27 of Plaintiffs’ Complaint states:

      Plaintiff Carolyn Hall Fisher, is a registered voter who resides in Forsyth
      County, Georgia. She is a nominee of the Republican Party to be a
      Presidential Elector on behalf of the State of Georgia.

      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations in the

      first sentence of Paragraph 27. These allegations are therefore denied. The

      Democratic Political Party Committees admit that Plaintiff Carolyn Hall

      Fisher is listed as a nominee of the Republican Party to be a Presidential

      Elector on the Georgia Secretary of State’s website.




                                         13
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 16 of 112




28.          Paragraph 28 of Plaintiffs’ Complaint states:

      Plaintiff Cathleen Alston Latham, is a registered voter who resides in Coffee
      County, Georgia. She is a nominee of the Republican Party to be a
      Presidential Elector on behalf of the State of Georgia.

      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations in the

      first sentence of Paragraph 28. These allegations are therefore denied. The

      Democratic Political Party Committees admit that Plaintiff Cathleen Alston

      Latham is listed as a nominee of the Republican Party to be a Presidential

      Elector on the Georgia Secretary of State’s website.

29.          Paragraph 29 of Plaintiffs’ Complaint states:

      Plaintiff Jason M. Shepherd is the Chairman of the Cobb County Republican
      Party and brings this action in his official capacity on behalf of the Cobb
      County Republican Party.

      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations

      regarding Plaintiff Jason M. Shepherd’s status as the Chairman of the Cobb

      County Republican Party. These allegations are therefore denied.

30.          Paragraph 30 of Plaintiffs’ Complaint states:

      Plaintiff Brian Jay Van Gundy is registered voter in Gwinnett County,
      Georgia. He is the Assistant Secretary of the Georgia Republican Party.


                                         14
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 17 of 112




      Answer: The Democratic Political Party Committees lack knowledge or

      information sufficient to form a belief as to the truth of the allegations

      regarding Plaintiff Brian Jay Van Gundy’s residence, voter registration status,

      or status as the Assistant Secretary of the Georgia Republican Party. These

      allegations are therefore denied.

31.          Paragraph 31 of Plaintiffs’ Complaint states:

      Defendant Governor Brian Kemp (Governor of Georgia) is named herein in
      his official capacity as Governor of the State of Georgia. On or about June
      9, 2019, Governor Kemp bought the new Dominion Voting Systems for
      Georgia, budgeting 150 million dollars for the machines. Critics are quoted,
      “Led by Abrams, Democrats fought the legislation and pointed to
      cybersecurity experts who warned it would leave Georgia's elections
      susceptible to hacking and tampering.” And “Just this week, the Fair Fight
      voting rights group started by [Stacy] Abrams launched a television ad
      critical of the bill. In a statement Thursday, the group called it “corruption at
      its worst” and a waste of money on “hackable voting machines.”

      Answer: The Democratic Political Party Committees admit that Brian Kemp

      is the Governor of Georgia. The Democratic Political Party Committees lack

      knowledge and information sufficient to form a belief as to the truth of the

      remaining allegations in Paragraph 31 and therefore deny the same.

32.          Paragraph 32 of Plaintiffs’ Complaint states:

      Defendant Brad Raffensperger ("Secretary Raffensperger") is named herein
      in his official capacity as Secretary of State of the State of Georgia and the
      Chief Election Official for the State of Georgia pursuant to Georgia’s
      Election Code and O.C.G.A. § 21-2-50. Secretary Raffensperger is a state
                                          15
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 18 of 112




      official subject to suit in his official capacity because his office "imbues him
      with the responsibility to enforce the [election laws]." Grizzle v. Kemp, 634
      F.3d 1314, 1319 (11th Cir. 2011). Secretary Raffensperger serves as the
      Chairperson of Georgia's State Election Board, which promulgates and
      enforces rules and regulations to (i) obtain uniformity in the practices and
      proceedings of election officials as well as legality and purity in all
      primaries and general elections, and (ii) be conducive to the fair, legal, and
      orderly conduct of primaries and general elections. See O.C.G.A. §§ 21-2-
      30(d), 21-2-31, 21-2-33.1. Secretary Raffensperger, as Georgia's chief
      elections officer, is further responsible for the administration of the state
      laws affecting voting, including the absentee voting system. See O.C.G.A. §
      21-2-50(b).

      Answer: The Democratic Political Party Committees admit that Brad

      Raffensperger is the Secretary of State of Georgia with certain responsibilities

      as described by law. To the extent Plaintiffs’ characterization and

      interpretation of the cited law differs from the text of the cited cases and

      statutory provisions, the Democratic Political Party Committees deny the

      allegations. To the extent a response is otherwise required, the Democratic

      Political Party Committees deny the allegations.

33.          Paragraph 33 of Plaintiffs’ Complaint states:

      Defendants Rebecca N. Sullivan, David J. Worley, Matthew Mashburn, and
      Anh Le (hereinafter the "State Election Board") are members of the State
      Election Board in Georgia, responsible for "formulating, adopting, and
      promulgating such rules and regulations, consistent with law, as will be
      conducive to the fair, legal, and orderly conduct of primaries and elections."
      O.C.G.A. § 21-2-31(2). Further, the State Election Board "promulgate[s]
      rules and regulations to define uniform and nondiscriminatory standards

                                         16
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 19 of 112




      concerning what constitutes a vote and what will be counted as a vote for
      each category of voting system" in Georgia. O.C.G.A. § 21-2-31(7). The
      State Election Board, personally and through the conduct of the Board's
      employees, officers, agents, and servants, acted under color of state law at
      all times relevant to this action and are sued for emergency declaratory and
      injunctive relief in their official capacities.

      Answer: The Democratic Political Party Committees admit that Rebecca N.

      Sullivan, David J. Worley, Matthew Mashburn, and Anh Lee are members of

      the State Election Board in Georgia with certain responsibilities as defined by

      law. To the extent Plaintiffs’ characterization and interpretation of the cited

      law differs from the text of the cited statutory provisions, the Democratic

      Political Party Committees deny the allegations. To the extent a response is

      otherwise required, the Democratic Political Party Committees deny the

      allegations.

                         JURISDICTION AND VENUE

34.          Paragraph 34 of Plaintiffs’ Complaint states:

      This Court has subject matter jurisdiction under 28 U.S.C. 1331 which
      provides, “The district courts shall have original jurisdiction of all civil
      actions arising under the Constitution, laws, or treaties of the United States.

      Answer: The Democratic Political Party Committees deny that this Court has

      subject-matter jurisdiction.

35.          Paragraph 35 of Plaintiffs’ Complaint states:

                                         17
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 20 of 112




      This Court also has subject matter jurisdiction under 28 U.S.C. 1343 because
      this action involves a federal election for President of the United States. “A
      significant departure from the legislative scheme for appointing Presidential
      electors presents a federal constitutional question.” Bush v. Gore, 531 U.S.
      98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm, 285 U.S. 355,
      365 (1932).

      Answer: The Democratic Political Party Committees deny that this Court has

      subject-matter jurisdiction. The Democratic Political Party Committees admit

      that the Plaintiff has quoted Bush v. Gore and deny each other or different

      allegation.

36.          Paragraph 36 of Plaintiffs’ Complaint states:

      The jurisdiction of the Court to grant declaratory relief is conferred by 28
      U.S.C. 2201 and 2202 and by Rule 57 and 65, Fed. R. Civ. P. 7.

      Answer: Denied because the Court lacks subject-matter jurisdiction.

37.         Paragraph 37 of Plaintiffs’ Complaint states:

      This Court has jurisdiction over the related Georgia Constitutional claims
      and State law claims under 28 U.S.C. 1367.

      Answer: Denied because the Court lacks subject-matter jurisdiction.

38.         Paragraph 38 of Plaintiffs’ Complaint states:

      In Georgia, the "legislature" is the General Assembly. See Ga. Const. Art.
      III, § I, Para. I.




                                         18
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 21 of 112




      Answer: The Democratic Political Party Committees admit that the General

      Assembly is granted “legislative power” by Ga. Const. Art. I, § I, Para. 1, and

      deny each other or different allegation.

39.         Paragraph 39 of Plaintiffs’ Complaint states:

      Because the United States Constitution reserves for state legislatures the
      power to set the time, place, and manner of holding elections for Congress
      and the President, state executive officers, including but not limited to
      Secretary Raffensperger, have no authority to exercise that power
      unilaterally, much less flout existing legislation or the Constitution itself.

      Answer: Paragraph 39 of Plaintiffs’ Complaint contains legal contentions,

      characterizations, and opinions to which no response is required. To the extent

      Plaintiffs’ characterization and interpretation of the cited law differs from the

      text of the cited provisions, the Democratic Political Party Committees deny

      the allegations.

                            STATEMENT OF FACTS
40.         Paragraph 40 of Plaintiffs’ Complaint states:

      Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, and under
      Georgia law, O.C.G.A. § 21-2-522 to remedy deprivations of rights,
      privileges, or immunities secured by the Constitution and laws of the United
      States and to contest the election results.

      Answer: The Democratic Political Party Committees admit that Plaintiffs’ are

      asserting claims under 42 U.S.C. §§ 1983 and 1988 and under O.C.G.A. § 21-


                                         19
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 22 of 112




      2-522. The Democratic Political Party Committees deny that Plaintiffs have

      established a cognizable claim under any of these provisions.

41.         Paragraph 41 of Plaintiffs’ Complaint states:

      The United States Constitution sets forth the authority to regulate federal
      elections, the Constitution provides:

      The Times, Places and Manner of holding Elections for Senators and
      Representatives, shall be prescribed in each State by the Legislature thereof;
      but the Congress may at any time by Law make or alter such Regulations,
      except as to the Places of choosing Senators. U.S. CONST. art. I, § 4
      (“Elections Clause”).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from U.S. Const. Art. I, section 4 and deny each other or different

      allegation in Paragraph 41.

42.         Paragraph 42 of Plaintiffs’ Complaint states:

      With respect to the appointment of presidential electors, the Constitution
      provides: Each State shall appoint, in such Manner as the Legislature thereof
      may direct, a Number of Electors, equal to the whole Number of Senators
      and Representatives to which the State may be entitled in the Congress: but
      no Senator or Representative, or Person holding an Office of Trust or Profit
      under the United States, shall be appointed an Elector. U.S. CONST. art. II,
      § 1 (“Electors Clause”).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from U.S. Const. art. II, § 1 and deny each other or different

      allegation in Paragraph 42.


                                         20
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 23 of 112




43.         Paragraph 43 of Plaintiffs’ Complaint states:

      Neither Defendant is a “Legislature” as required under the Elections Clause
      or Electors Clause. The Legislature is “‘the representative body which
      ma[kes] the laws of the people.’” Smiley 285 U.S. 365. Regulations of
      congressional and presidential elections, thus, “must be in accordance with
      the method which the state has prescribed for legislative enactments.” Id. at
      367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,
      576 U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

      Answer:    The Democratic Political Party Committees admit the quoted

      language is from Smiley and deny each other or different allegation. To the

      extent Plaintiffs’ characterization and interpretation of the cited law differs

      from the text of the cited cases, the Democratic Political Party Committees

      deny the allegations.

44.         Paragraph 44 of Plaintiffs’ Complaint states:

      While the Elections Clause "was not adopted to diminish a State's authority
      to determine its own lawmaking processes," Ariz. State Legislature, 135 S.
      Ct. at 2677, it does hold states accountable to their chosen processes when it
      comes to regulating federal elections, id. at 2668. "A significant departure
      from the legislative scheme for appointing Presidential electors presents a
      federal constitutional question." Bush, 531 U.S. at 113 (Rehnquist, C.J.,
      concurring); Smiley, 285 U.S. at 365.

      Answer:    The Democratic Political Party Committees admit the quoted

      language is from Ariz. State Legislature, Bush, and Smiley and deny each other

      or different allegation. To the extent Plaintiffs’ characterization and



                                        21
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 24 of 112




      interpretation of the cited law differs from the text of the cited cases, the

      Democratic Political Party Committees deny the allegations.

45.         Paragraph 45 of Plaintiffs’ Complaint states:

      Plaintiffs also bring this action under Georgia law, O.C.G.A. § 21-2-522,
      Grounds for Contest:

           A result of a primary or election may be contested on one or more of
           the following grounds:
           (1) Misconduct, fraud, or irregularity by any primary or election official
           or officials sufficient to change or place in doubt the result;
           (2) When the defendant is ineligible for the nomination or office in
           dispute;
           (3) When illegal votes have been received or legal votes rejected at the
           polls sufficient to change or place in doubt the result;
           (4) For any error in counting the votes or declaring the result of the
           primary or election, if such error would change the result; or
           (5) For any other cause which shows that another was the person legally
           nominated, elected, or eligible to compete in a run-off primary or
           election.
      O.C.G.A. § 21-2-522.

      Answer: Paragraph 45 of Plaintiffs’ Complaint contains legal contentions,

      characterizations, and opinions to which no response is required. To the extent

      Plaintiffs’ characterization and interpretation of the cited law differs from the

      text of the cited provisions, the Democratic Political Party Committees deny

      the allegations.

46.         Paragraph 46 of Plaintiffs’ Complaint states:

      Under O.C.G.A. § 21-2-10, Presidential Electors are elected.

                                         22
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 25 of 112




      Answer: Admitted.

47.         Paragraph 47 of Plaintiffs’ Complaint states:

      Under O.C.G.A. § 21-2-386(a)(l)(B), the Georgia Legislature instructed the
      county registrars and clerks (the "County Officials") to handle the absentee
      ballots as directed therein. The Georgia Legislature set forth the procedures
      to be used by each municipality for appointing the absentee ballot clerks to
      ensure that such clerks would "perform the duties set forth in this Article."
      See O.C.G.A. § 21-2-380.1.

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from O.C.G.A. § 21-2-386(a)(l)(B). Paragraph 45 of Plaintiffs’

      Complaint otherwise contains legal contentions, characterizations, and

      opinions to which no response is required. To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited statute, the Democratic Political Party Committees deny the allegations.

48.         Paragraph 48 of Plaintiffs’ Complaint states:

      The Georgia Election Code instructs those who handle absentee ballots to
      follow a clear procedure:

            Upon receipt of each [absentee] ballot, a registrar or clerk shall write
            the day and hour of the receipt of the ballot on its envelope. The
            registrar or clerk shall then compare the identifying information on
            the oath with the information on file in his or her office, shall
            compare the signature or make on the oath with the signature or mark
            on the absentee elector's voter card or the most recent update to such
            absentee elector's voter registration card and application for absentee
            ballot or a facsimile of said signature or maker taken from said card or
            application, and shall, if the information and signature appear to be
                                         23
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 26 of 112




            valid and other identifying information appears to be correct, so
            certify by signing or initialing his or her name below the voter's oath.
            Each elector's name so certified shall be listed by the registrar or clerk
            on the numbered list of absentee voters prepared for his or her
            precinct.

      O.C.G.A. § 21-2-386(a)(l )(B) (emphasis added).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from O.C.G.A. § 21-2-386(a)(l)(B). To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited statute, the Democratic Political Party Committees deny the allegations.

      The Democratic Political Party Committees deny each other or different

      allegation.

49.         Paragraph 49 of Plaintiffs’ Complaint states:

      Under O.C.G.A. § 21-2-386(a)(l)(C), the Georgia Legislature also
      established a clear and efficient process to be used by County Officials if
      they determine that an elector has failed to sign the oath on the outside
      envelope enclosing the ballot or that the signature does not conform with the
      signature on file in the registrar's or clerk's office (a "defective absentee
      ballot").

      Answer: The Democratic Political Party Committees admit that O.C.G.A. §

      21-2-386(a)(l)(C) relates to signature matching. To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited statute, the Democratic Political Party Committees deny the allegations.


                                         24
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 27 of 112




50.         Paragraph 50 of Plaintiffs’ Complaint states:

      The Georgia Legislature also provided for the steps to be followed by
      County Officials with respect to defective absentee ballots:

            If the elector has failed to sign the oath, or if the signature does not
            appear to be valid, or if the elector has failed to furnish required
            information or information so furnished does not conform with that
            on file in the registrar's or clerk's office, or if the elector is otherwise
            found disqualified to vote, the registrar or clerk shall write across the
            face of the envelope "Rejected," giving the reason therefor. The board
            of registrars or absentee ballot clerk shall promptly notify the elector
            of such rejection, a copy of which notification shall be retained in the
            files of the board of registrars or absentee ballot clerk for at least one
            year.

      O.C.G.A. § 21-2 -386(a) (l)(C) (emphasis added).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from O.C.G.A. § 21-2 -386(a)(l)(C). To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited statute, the Democratic Political Party Committees deny the allegations.

I.  DEFENDANTS’ UNAUTHORIZED ACTIONS VIOLATED THE
GEORGIA ELECTION CODE AND CAUSED THE PROCESSING OF
           DEFECTIVE ABSENTEE BALLOTS
51.         Paragraph 51 of Plaintiffs’ Complaint states:

      Notwithstanding the clarity of the applicable statutes and the constitutional
      authority for the Georgia Legislature's actions, on March 6, 2020, the
      Secretary of State of the State of Georgia, Secretary Raffensperger, and the
      State Election Board, who administer the state elections (the
      "Administrators") entered into a "Compromise and Settlement Agreement

                                         25
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 28 of 112




      and Release" (the "Litigation Settlement") with the Democratic Party of
      Georgia, Inc., the Democrat Senatorial Campaign Committee, and the
      Democratic Congressional Campaign Committee (collectively, the
      "Democrat Party Agencies"), setting forth different standards to be followed
      by the clerks and registrars in processing absentee ballots in the State of
      Georgia.

      Answer: The Democratic Political Party Committees admit that on March 6,

      2020, Secretary Raffensperger, the state Election Board, Democratic Party of

      Georgia, DSCC, and DCCC entered into a settlement agreement. The

      Democratic Political Party Committees deny each other or different

      allegation.

52.         Paragraph 52 of Plaintiffs’ Complaint states:

      Under the Settlement, however, the Administrators agreed to change the
      statutorily prescribed manner of handling absentee ballots in a manner that is
      not consistent with the laws promulgated by the Georgia Legislature for
      elections in this state.

      Answer: Denied.

53.         Paragraph 53 of Plaintiffs’ Complaint states:

      The Settlement provides that the Secretary of State would issue an "Official
      Election Bulletin" to county Administrators overriding the statutory
      procedures prescribed for those officials. That power, however, does not
      belong to the Secretary of State under the United States Constitution.

      Answer: Denied.

54.         Paragraph 54 of Plaintiffs’ Complaint states:


                                        26
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 29 of 112




      The Settlement also changed the signature requirement reducing it to a broad
      process with discretion, rather than enforcement of the signature requirement
      as statutorily required under O.C.G.A. 21-2-386(a)(l).

      Answer: Denied.

55.         Paragraph 55 of Plaintiffs’ Complaint states:

      The Georgia Legislature instructed county registers and clerks (the “County
      Officials”) regarding the handling of absentee ballots in O.C.G.A. S 21-2-
      386(a)(1)(B), 21-2-380.1. The Georgia Election Code instructs those who
      handle absentee ballots to follow a clear procedure:

            Upon receipt of each absentee ballot, a registrar or clerk shall write
            the day and hour of the receipt of the ballot on its envelope. The
            registrar or clerk shall then compare the identifying information on the
            oath with the information on file in his or her office, shall compare the
            signature or make on the oath with the signature or mark on the
            absentee elector’s voter card or the most recent update to such absent
            elector’s voter registration card and application for absentee ballot or
            a facsimile of said signature or maker taken from said card or
            application, and shall, if the information and signature appear to be
            valid and other identifying information appears to be correct, so
            certify by signing or initialing his or her name below the voter’s oath
            …

      O.C.G.A. S 21-2-386(a)(1)(B).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from O.C.G.A. § 21-2-386(a)(l)(B). To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited statute, the Democratic Political Party Committees deny the allegations.



                                         27
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 30 of 112




      The Democratic Political Party Committees deny each other or different

      allegation in Paragraph 55.

56.         Paragraph 56 of Plaintiffs’ Complaint states:

      The Georgia Legislature prescribed procedures to ensure that any request for
      an absentee ballot must be accompanied by sufficient identification of the
      elector's identity. See O.C.G.A. § 21-2-38 l(b)(1) (providing, in pertinent
      part, "In order to be found eligible to vote an absentee ballot in person at the
      registrar's office or absentee ballot clerk's office, such person shall show one
      of the forms of identification listed in Code Section 21-2-417 ... ").

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from O.C.G.A. § 21-2-38l(b)(1). To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited statute, the Democratic Political Party Committees deny the allegations.

      The Democratic Political Party Committees deny each other or different

      allegation in Paragraph 56.

57.         Paragraph 57 of Plaintiffs’ Complaint states:

      An Affiant testified, under oath, that “It was also of particular interest to me
      to see that signatures were not being verified and that there were no
      corresponding envelopes seen in site.” (Attached hereto as Exh. 10, Mayra
      Romera, at par. 7).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from Exhibit 10, Paragraph 7 to Plaintiffs’ Complaint. The



                                         28
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 31 of 112




      Democratic Political Party Committees deny each other or different

      allegation.

58.         Paragraph 58 of Plaintiffs’ Complaint states:

      To reflect the very reason for process, it was documented that in the primary
      election, prior to the November 3, 2020 Presidential election, many ballots
      got to voters after the election. Further it was confirmed that “Untold
      thousands of absentee ballot requests went unfulfilled, and tens of thousands
      of mailed ballots were rejected for multiple reasons including arriving too
      late to be counted. See the Associated Press, Vote-by-Mail worries: A leaky
      pipeline in many states, August 8, 2020.

      Answer: Democratic Political Party Committees admit the quote comes from

      the referenced Associated Press article. Democratic Political Party

      Committees are without sufficient information to form a belief regarding the

      “very reason for the process” being alleged in the first sentence of Paragraph

      58 and therefore deny the same.

59.         Paragraph 59 of Plaintiffs’ Complaint states:

      Pursuant to the Settlement, the Administrators delegated their
      responsibilities for determining when there was a signature mismatch by
      considering in good faith only partisan-based training - "additional guidance
      and training materials" drafted by the Democrat Party Agencies’
      representatives contradicting O.C.G.A. § 21-2-31.

      Answer: Denied.

  UNLAWFUL EARLY PROCESSING OF ABSENTEE BALLOTS
60.         Paragraph 60 of Plaintiffs’ Complaint states:

                                        29
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 32 of 112




      In April 2020, the State Election Board adopted on a purportedly
      “Emergency Basis” Secretary of State Rule 183-1-14-0.9-.15, Processing
      Ballots Prior to Election Day. Under this rule, county election officials are
      authorized to begin processing absentee ballots up to three weeks befoe [sic]
      election day. Thus, the rule provides in part that “(1) Beginning at 8:00 AM
      on the third Monday prior to Election Day, the county election
      superintendent shall be authorized to open the outer envelope of accepted
      absentee ballots …” (Emphasis added).

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from SEB Rule 183-1-14-0.9-.15. To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited rule, the Democratic Political Party Committees deny the allegations.

      The Democratic Political Party Committees deny each other or different

      allegation in Paragraph 60.

61.         Paragraph 61 of Plaintiffs’ Complaint states:

      Rule 183-1-14-0.9-.15 is in direct and irreconcilable conflict with O.C.G.A.
      § 21-2-386(a)(2), which prohibits the opening of absentee ballots until
      election day:

            After the opening of the polls on the day of the primary, election, or
            runoff, the registrars or absentee ballot clerks shall be authorized to
            open the outer envelope on which is printed the oath of the elector in
            such a manner as not to destroy the oath printed thereon; provided,
            however, that the registrars or absentee ballot clerk shall not be
            authorized to remove the contents of such outer envelope or to open
            the inner envelope marked “Official Absentee Ballot,” except as
            otherwise provided in this Code section.

      (Emphasis added).
                                         30
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 33 of 112




      Answer: The Democratic Political Party Committees admit that the quoted

      language is from O.C.G.A. § 21-2-386(a)(2). To the extent Plaintiffs’

      characterization and interpretation of the cited law differs from the text of the

      cited cases, the Democratic Political Party Committees deny the allegations.

      The Democratic Political Party Committees deny each other or different

      allegation in Paragraph 61.

62.         Paragraph 62 of Plaintiffs’ Complaint states:

      In plain terms, the statute clearly prohibits opening absentee ballots prior to
      election day, while the rule authorizes doing so three weeks before election
      day. There is no reconciling this conflict. The State Election Board has
      authority under O.C.G.A. § 21-2-31 to adopt lawful and legal rules and
      regulations, but no authority to promulgate a regulation that is directly
      contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is therefore
      plainly and indisputably unlawful.

      Answer: Denied.

63.         Paragraph 63 of Plaintiffs’ Complaint states:

      The State Election Board re-adopted Rule 183-1-14-0.9-.15 on November
      23, 2020 for the upcoming January 2021 runoff election.

      Answer: Denied.

                     UNLAWFUL AUDIT PROCEDURES
64.         Paragraph 64 of Plaintiffs’ Complaint states:

      According to Secretary Raffensperger, in the presidential general election,
      2,457,880 votes were cast in Georgia for President Donald J. Trump, and

                                         31
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 34 of 112




      2,472,002 votes were cast for Joseph R. Biden, which narrowed in Donald
      Trump’s favor after the most recent recount.

      Answer: The Democratic Political Party Committees admit that President-
      Elect Joe Biden had more votes cast for him during the 2020 General
      Election in Georgia than President Donald Trump. The Democratic Political
      Party Committees deny each other or different allegation in Paragraph 64.

65.         Paragraph 65 of Plaintiffs’ Complaint states:

      Secretary Raffensperger declared that for the Hand Recount:

            Per the instructions given to counties as they conduct their audit
            triggered full hand recounts, designated monitors will be given
            complete access to observe the process from the beginning. While the
            audit triggered recount must be open to the public and media,
            designated monitors will be able to observe more closely. The general
            public and the press will be restricted to a public viewing area.
            Designated monitors will be able to watch the recount while standing
            close to the elections’ workers conducting the recount.

            Political parties are allowed to designate a minimum of two monitors
            per county at a ratio of one monitor per party for every ten audit
            boards in a county... Beyond being able to watch to ensure the recount
            is conducted fairly and securely, the two-person audit boards
            conducting the hand recount call out the votes as they are recounted ,
            providing monitors and the public an additional way to keep tabs on
            the process.

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other or different allegation in Paragraph 65 and, on

      that basis, deny the same.

                                        32
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 35 of 112




66.         Paragraph 66 of Plaintiffs’ Complaint states:

      The audit was conducted O.C.G.A. § 21-2-498 [sic]. This code section
      requires that audits be completed “in public view” and authorizes the State
      Board of Elections to promulgate regulations to administer an audit “to
      ensure that collection of validly cast ballots is complete, accurate and
      trustworthy throughout the audit.”

      Answer: Paragraph 66 of Plaintiffs’ Complaint contains legal contentions,

      characterizations, and opinions to which no response is required. To the extent

      Plaintiffs’ characterization and interpretation of the cited law differs from the

      text of the cited provisions, the Democratic Political Party Committees deny

      the allegations. The Democratic Political Party Committees deny each other

      or different allegation in Paragraph 66.

67.         Paragraph 67 of Plaintiffs’ Complaint states:

      Plaintiffs can show that Democrat-majority counties provided political
      parties and candidates, including the Trump Campaign, no meaningful
      access or actual opportunity to review and assess the validity of mail-in
      ballots during the pre-canvassing meetings. While in the audit or recount,
      they witnessed Trump votes being put into Biden piles.

      Answer: Denied.

68.         Paragraph 68 of Plaintiffs’ Complaint states:

      Non-parties Amanda Coleman and Maria Diedrich are two individuals who
      volunteered to serve as designated monitors for the Donald J. Trump
      Presidential Campaign, Inc. (the "Trump Campaign") on behalf of the
      Georgia Republican Party (the "Republican Party") at the Hand Recount.
      (Attached hereto and incorporated herein as Exhibits 2 and 3), respectively,
                                         33
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 36 of 112




      are true and correct copies of (1) the Affidavit of Amanda Coleman in
      Support of Plaintiffs' Motion for Temporary Restraining Order (the
      "Coleman Affidavit"), and (2) the Affidavit of Maria Diedrich in Support of
      Plaintiffs' Motion for Temporary Restraining Order (the "Diedrich
      Affidavit"). (See Exh. 11, Coleman Aff.,2; Exh. 12, Diedrich Aff., 2.)

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the allegations in

      Paragraph 68 and, on that basis, deny the same.

69.         Paragraph 69 of Plaintiffs’ Complaint states:

      The Affidavits set forth various conduct amounting to federal crimes, clear
      improprieties, insufficiencies, and improper handling of ballots by County
      Officials and their employees that Ms. Coleman and Ms. Diedrich personally
      observed while monitoring the Hand Recount. (See Exh. 11, Coleman Aff.,
      3-10; Exh. 12, Diedrich Aff., 4-14.)

      Answer: Denied.

70.         Paragraph 70 of Plaintiffs’ Complaint states:

      As a result of her observations of the Hand Recount as a Republican Party
      monitor, Ms. Diedrich declared, "There had been no meaningful way to
      review or audit any activity" at the Hand Recount. (See Exh. 12, Diedrich
      Aff.,14.)

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 70 and, on that basis,

      deny the same.


                                        34
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 37 of 112




71.         Paragraph 71 of Plaintiffs’ Complaint states:

      As a result of their observations of the Hand Recount as Republican Party
      monitors, Ms. Coleman likewise declared, "There was no way to tell if any
      counting was accurate or if the activity was proper." (See Exh. 12, Coleman
      Aff.,10).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 71 and, on that basis,

      deny the same.

72.         Paragraph 72 of Plaintiffs’ Complaint states:

      On Election Day, when the Republican poll watchers were, for a limited
      time, present and allowed to observe in various polling locations, they
      observed and reported numerous instances of election workers failing to
      follow the statutory mandates relating to two critical requirements, among
      other issues:

      (1) a voter’s right to spoil their mail-in ballot at their polling place on
      election day and to then vote in-person, and

      (2) the ability for voters to vote provisionally on election day when a mail-in
      ballot has already been received for them, but when they did not cast those
      mail-in ballots, who sought to vote in person during early voting but was
      told she already voted; she emphasized that she had not. The clerk told her
      he would add her manually with no explanation as to who or how someone
      voted using her name. (Attached hereto as Exh. 13, Aff. Ursula Wolf)

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the


                                          35
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 38 of 112




      quoted language or any other allegation in Paragraph 71 and, on that basis,

      deny the same.

73.         Paragraph 73 of Plaintiffs’ Complaint states:

      Another observer for the ballot recount testified that “at no time did I witness
      any Recounter or individual participate in the recount verifying signatures
      [on mail-in ballots].” (Attached hereto as Exh. 14, Nicholas Zeher Aff).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 73 and, on that basis,

      deny the same.

74.         Paragraph 74 of Plaintiffs’ Complaint states:

      In some counties, there was no actual "hand" recounting of the ballots during
      the Hand Recount, but rather, County Officials and their employees simply
      conducted another machine count of the same ballots. (See. Exh. 9, 10). That
      will not reveal the massive fraud of which plaintiffs complain.

      Answer: Denied.

75.         Paragraph 75 of Plaintiffs’ Complaint states:

      A large number of ballots were identical and likely fraudulent. An Affiant
      explains that she observed a batch of utterly pristine ballots:

            14. Most of the ballots had already been handled; they had been
            written on by people, and the edges were worn. They showed obvious
            use. However, one batch stood out. It was pristine. There was a
            difference in the texture of the paper - it was if they were intended for


                                         36
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 39 of 112




            absentee use but had not been used for that purposes. There was a
            difference in the feel.

            15. These different ballots included a slight depressed pre-fold so they
            could be easily folded and unfolded for use in the scanning machines.
            There were no markings on the ballots to show where they had com~
            from, or where they had been processed. These stood out.

            16. In my 20 years of experience of handling ballots, I observed that
            the markings for the candidates on these ballots were unusually
            uniform, perhaps even with a ballot-marking device. By my estimate
            in observing these ballots, approximately 98% constituted votes for
            Joe Biden. I only observed two of these ballots as votes for President
            Donald J. Trump.” (See Exh. 15 Attached hereto).

      Answer: The Democratic Political Party Committees deny that a “large

      number” of ballots were “likely fraudulent.” The Democratic Political Party

      Committees lack knowledge and information sufficient to form a belief about

      the truth of the remaining allegations contained in Paragraph 75 and, on that

      basis, deny the same.

76.         Paragraph 76 of Plaintiffs’ Complaint states:

      The same Affiant further testified specifically to the breach of the chain of
      custody of the voting machines the night before the election stating:

            we typically receive the machines, the ballot marking devices – on the
            Friday before the election, with a chain of custody letter to be signed
            on Sunday, indicating that we had received the machines and the
            counts on the machines when received, and that the machines have
            been sealed. In this case, we were asked to sign the chain of
            custody letter on Sunday, even though the machines were not
            delivered until 2:00 AM in the morning on Election Day.
                                         37
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 40 of 112




      The Milton precinct received its machines at 1:00 AM in the morning on
      Election Day. This is unacceptable and voting machines should [not] be out
      of custody prior to an Election Day. Id.

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 76 and, on that basis,

      deny the same.

77.         Paragraph 77 of Plaintiffs’ Complaint states:

      The stunning pattern of the nature and acts of fraud demonstrate an absence
      of mistake.

      Answer: Denied.

78.         Paragraph 78 of Plaintiffs’ Complaint states:

      The same Affiant further explained, in sworn testimony, that the breach
      included: “when we did receive the machines, they were not sealed or
      locked, the serial numbers were not what were reflected on the related
      documentation…” See Id.

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 78 and, on that basis,

      deny the same.

79.         Paragraph 79 of Plaintiffs’ Complaint states:



                                        38
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 41 of 112




      An affiant testified that “While in Henry County, I personally witnessed
      ballots cast for Donald Trump being placed in the pile for Joseph Biden, I
      witnessed this happen at table “A”.’ (See Exh. 14, par. 27).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 79 and, on that basis,

      deny the same.

80.         Paragraph 80 of Plaintiffs’ Complaint states:

      The Affiant further testified, that “when this was brought to Ms. Pitts
      attention, it was met with extreme hostility. At no time did I witness any
      ballot cast for Joseph Biden be placed in the pile for Donald Trump. (See
      Exh. 14, par. 28).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 80 and, on that basis,

      deny the same.

81.         Paragraph 81 of Plaintiffs’ Complaint states:

      Another Affiant in the mail-in ballot and absentee ballot recounting process,
      testified in her sworn affidavit, that “on November 16, 2020 … It was also
      of particular interest to me to see that signatures were not being verified and
      there were no corresponding envelopes seen in sight.” (See Exh. 10, at Par.
      7).




                                         39
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 42 of 112




      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 81 and, on that basis,

      deny the same.

82.         Paragraph 82 of Plaintiffs’ Complaint states:

      Yet another Affiant, in the recount process, testified that he received push
      back and a lack of any cooperation and was even threatened as if he did
      something wrong, when he pointed out the failure to follow the rules with
      the observers while open mail-in ballot re-counting was occurring, stating:

            “However, as an observer, I observed that the precinct had twelve (12)
            counting tables, but only one (1) monitor from the Republican Party. I
            brought it up to Erica Johnston since the recount rules provided for
            one (1) monitor from each Party per ten (10) tables or part thereof…”

      (See Attached hereto, Exh. 16, Ibrahim Reyes Aff.)

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 82 and, on that basis,

      deny the same.

83.         Paragraph 83 of Plaintiffs’ Complaint states:

      Another Affiant explains a pattern of behavior that is alarming, in his
      position as an observer in the recount on absentee ballots with barcodes, he
      testified:

            I witnessed two poll workers placing already separated paper
            machine receipt ballots with barcodes in the Trump tray, placing
                                       40
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 43 of 112




            them in to the Biden tray. I also witnessed the same two poll workers
            putting the already separated paper receipt ballots in the “No Vote”
            and “Jorgensen” tray, and removing them and putting them inside the
            Biden tray, They then took out all of the ballots out of the Biden tray
            and stacked them on the table, writing on the count ballot sheet.

      (See Attached hereto, Exh.17, pars. 4-5, Aff. of Consetta Johson).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 83 and, on that basis,

      deny the same.

84.         Paragraph 84 of Plaintiffs’ Complaint states:

      Another Affiant, a Democrat, testified in his sworn affidavit, that before he
      was forced to move back to where he could not see, he had in fact seen
      “absentee ballots for Trump inserted into Biden’s stack, and counted as
      Biden votes. This occurred a few times”. (See attached hereto, Exh. 18 at
      Par. 12, Aff. of Carlos Silva).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other or different allegation in Paragraph 84 and, on

      that basis, deny the same. The Democratic Political Party Committees deny

      each other allegation in Paragraph 84.

85.         Paragraph 85 of Plaintiffs’ Complaint states:



                                        41
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 44 of 112




      Yet another Affiant testified about the lack of process and the hostility only
      towards the Republican party, which is a violation of the Equal Protection
      Clause. He testified:

            I also observed throughout my three days in Atlanta, not once did
            anyone verify these ballots. In fact, there was no authentication
            process in place and no envelopes were observed or allowed to be
            observed. I saw hostility towards Republican observers but never
            towards Democrat observers. Both were identified by badges.

      (See Id., at pars. 13-14).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 85 and, on that basis,

      deny the same.

86.         Paragraph 86 of Plaintiffs’ Complaint states:

      Another Affiant explained that his ballot was not only not processed in
      accordance with Election law, he witnessed people reviewing his ballot to
      decide where to place it, which violated the privacy of his ballot, and when
      he tried to report it to a voter fraud line, he never received any contact or
      cooperation stating:

            “I voted early on October 12 at the precinct at Lynwood Park …
            Because of irregularities at the polling location, I called the voter
            fraud line to ask why persons were discussing my ballot and
            reviewing it to decide where to place it. When I called the state fraud
            line, I was directed to a worker in the office of the Secretary of
            State…”

      (See Attached hereto, Exh. 19, Andrea ONeal Aff, at par. 3).


                                         42
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 45 of 112




      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 86 and, on that basis,

      deny the same.

87.         Paragraph 87 of Plaintiffs’ Complaint states:

      He further testified that when he was an Observer at the Lithonia location,
      he saw many irregularities, and specifically “saw an auditor sort Biden votes
      that he collected and sorted into ten ballot stacks, which [the auditor] did not
      show anyone.” Id. at p. 8.

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 87 and, on that basis,

      deny the same.

88.         Paragraph 88 of Plaintiffs’ Complaint states:

      Another Affiant testified about the use of different paper for ballots, that
      would constitute fraud stating:

            I noticed that almost all of the ballots I reviewed were for Biden.
            Many batches went 100% for Biden. I also observed that the
            watermark on at least 3 ballots were solid gray instead of transparent,
            leading me to believe the ballot was counterfeit. I challenged this and
            the Elections Director said it was a legitimate ballot and was due to
            the use of different printers. Many ballots had markings for Biden
            only, and no markings on the rest of the ballot.

      (See Attached hereto, Exh. 20, Aff of Debra J. Fisher, at pars. 4, 5, 6).

                                         43
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 46 of 112




      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 88 and, on that basis,

      deny the same.

89.         Paragraph 89 of Plaintiffs’ Complaint states:

      An Affiant testified, that while at the Audit, ‘While in Henry County, I
      personally witnessed ballots cast for Donald Trump being placed in the
      pile for Joseph Biden. I witnessed this happen at table “A”’. (See
      attached hereto as Exh. 22, Kevin Peterford, at par. 29). Another Affiant
      testified, that “I witnessed two poll workers placing already separated paper
      machine receipt ballots with barcodes in the Trump tray, placing them in to
      the Biden tray. I also witnessed the same two poll workers putting the
      already separated paper receipt abllots in the “No Vote” and “Jorgensen”
      tray, and removing them and putting them inside the Biden tray, They then
      took out all of the ballots out of the Biden tray and stacked them on the
      table, writing on the count ballot sheet. (See Exh. 17, Johnson, pars. 4-5).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other allegation in Paragraph 89 and, on that basis,

      deny the same.

90.         Paragraph 90 of Plaintiffs’ Complaint states:

      Another Affiant, a Democrat, testified in his sworn affidavit, before he was
      forced to move back to where he could not see, he had in fact seen, “I also
      saw absentee ballots for Trump inserted into Biden’s stack, and counted as
      Biden votes. This occurred a few times”. (See Exh. 18, Par. 12).

                                        44
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 47 of 112




      Answer: The Democratic Political Party Committees admit that the quoted

      language is from Exhibit 18 to the Plaintiffs’ Complaint. The Democratic

      Political Party Committees deny each other or different allegation in

      Paragraph 159.

91.         Paragraph 91 of Plaintiffs’ Complaint states:

      A Republican National Committee monitor in Georgia’s election recount,
      Hale Soucie, told an undercover journalist there are individuals counting
      ballots who have made continuous errors,” writes O’Keefe. Project Veritas,
      Watch: Latest Project Veritas Video reveals “Multiple Ballots Meant for
      Trump Went to Biden in Georgia.

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other or different allegation in Paragraph 91 and, on

      that basis, deny the same.

92.         Paragraph 92 of Plaintiffs’ Complaint states:

      These violations of federal and state laws impacted the election of
      November 3, 2020 and set the predicate for the evidence of deliberate
      fraudulent conduct, manipulation, and lack of mistake that follows. The
      commonality and statewide nature of these legal violations renders
      certification of the legal vote untenable and warrants immediate
      impoundment of voting machines and software used throughout Georgia for
      expert inspection and retrieval of the software.

      Answer: Denied.

93.         Paragraph 93 of Plaintiffs’ Complaint states:

                                        45
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 48 of 112




      An Affiant, who is a network & information cyber-security expert, under
      sworn testimony explains that after studying the user manual for Dominion
      Voting Systems Democracy software, he learned that the information about
      scanned ballots can be tracked inside the software system for Dominion:

            (a) When bulk ballot scanning and tabulation begins, the "ImageCast
            Central" workstation operator will load a batch of ballots into the
            scanner feed tray and then start the scanning procedure within the
            software menu. The scanner then begins to scan the ballots which
            were loaded into the feed tray while the "ImageCast Central" software
            application tabulates votes in real-time. Information about scanned
            ballots can be tracked inside the "ImageCast Central" software
            application.

      (See attached hereto Exh 22, Declaration of Ronald Watkins, at par. 11).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other or different allegation in Paragraph 93 and, on

      that basis, deny the same.

94.         Paragraph 94 of Plaintiffs’ Complaint states:

      Affiant further explains that the central operator can remove or discard
      batches of votes. “After all of the ballots loaded into the scanner's feed tray
      have been through the scanner, the "ImageCast Central" operator will
      remove the ballots from the tray then have the option to either "Accept
      Batch" or "Discard Batch" on the scanning menu …. “(Id. at par. 8).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the



                                         46
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 49 of 112




      quoted language or any other or different allegation in Paragraph 93 and, on

      that basis, deny the same.

95.          Paragraph 95 of Plaintiffs’ Complaint states:

      Affiant further testifies that the Dominion/ Smartmatic user manual itself
      makes clear that the system allows for threshold settings to be set to mark all
      ballots as “problem ballots” for discretionary determinations on where the
      vote goes. It states:

      During the scanning process, the "ImageCast Central" software will detect
      how much of a percent coverage of the oval was filled in by the voter. The
      Dominion customer determines the thresholds of which the oval needs to be
      covered by a mark in order to qualify as a valid vote. If a ballot has a
      marginal mark which did not meet the specific thresholds set by the
      customer, then the ballot is considered a "problem ballot" and may be set
      aside into a folder named "NotCastImages". Through creatively tweaking
      the oval coverage threshold settings it should be possible to set thresholds in
      such a way that a non-trivial amount of ballots are marked "problem
      ballots" and sent to the "NotCastImages" folder. It is possible for an
      administrator of the ImageCast Central work station to view all images of
      scanned ballots which were deemed "problem ballots" by simply navigating
      via the standard "Windows File Explorer" to the folder named
      "NotCastImages" which holds ballot scans of "problem ballots". It is
      possible for an administrator of the "ImageCast Central" workstation to
      view and delete any individual ballot scans from the "NotCastImages" folder
      by simply using the standard Windows delete and recycle bin functions
      provided by the Windows 10 Pro operating system.

      Id. at pars. 9-10.

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the


                                         47
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 50 of 112




      quoted language or any other or different allegation in Paragraph 93 and, on

      that basis, deny the same.

96.         Paragraph 96 of Plaintiffs’ Complaint states:

      The Affiant further explains the vulnerabilities in the system when the copy
      of the selected ballots that are approved in the Results folder are made to a
      flash memory card – and that is connected to a Windows computer stating:

      It is possible for an administrator of the "ImageCast Central" workstation to
      view and delete any individual ballot scans from the "NotCastImages" folder
      by simply using the standard Windows delete and recycle bin functions
      provided by the Windows 10 Pro operating system. … The upload process is
      just a simple copying of a "Results" folder containing vote tallies to a flash
      memory card connected to the "Windows 10 Pro" machine. The copy
      process uses the standard drag-n-drop or copy/paste mechanisms within the
      ubiquitous "Windows File Explorer". While a simple procedure, this process
      may be error prone and is very vulnerable to malicious administrators.

      Id. at par. 11-13 (emphasis supplied).

      Answer: The Democratic Political Party Committees lack knowledge and

      information sufficient to form a belief about the truth of the substance of the

      quoted language or any other or different allegation in Paragraph 96 and, on

      that basis, deny the same.

97.         Paragraph 97 of Plaintiffs’ Complaint states:

      It was announced on “Monday, [July 29, 2019], [that] Governor Kemp
      awarded a contract for 30,000 new voting machines to Dominion Voting
      Systems, scrapping the state’s 17-year-old electronic voting equipment and
      replacing it with touchscreens that print out paper ballots.”12 Critics are
      quoted: “Led by Abrams, Democrats fought the legislation and pointed to
                                        48
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 51 of 112




      cybersecurity experts who warned it would leave Georgia's elections
      susceptible to hacking and tampering.” And “Just this week, the Fair Fight
      voting rights group started by [Stacy] Abrams launched a television ad
      critical of the bill. In a statement Thursday, the group called it “corruption at
      its worst” and a waste of money on “hackable voting machines.”

      Answer: The Democratic Political Party Committees admit that Georgia

      awarded Dominion Voting Systems a contract for voting machines and these

      machines have touchscreens. The Democratic Political Party Committees lack

      knowledge and information sufficient to form a belief about the truth of the

      substance of the quoted language or any other or different allegation in

      Paragraph 97 and, on that basis, deny the same.

98.         Paragraph 98 of Plaintiffs’ Complaint states:

      It was further reported in 2019 that the new Dominion Voting Machines in
      Georgia “[w]ith Georgia’s current voting system, there’s no way to
      guarantee that electronic ballots accurately reflect the choices of voters
      because there’s no paper backup to verify results, with it being reported
      that:

      (a) Recounts are meaningless on the direct-recording electronic voting
      machines because they simply reproduce the same numbers they originally
      generated.

      (b) But paper ballots alone won’t protect the sanctity of elections on the new
      touchscreens, called ballot-marking devices.

      (c) The new election system depends on voters to verify the printed text of
      their choices on their ballots, a step that many voters might not take. The
      State Election Board hasn't yet created regulations for how recounts and
      audits will be conducted. And paper ballots embed selections in bar codes

                                          49
Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 52 of 112




that are only readable by scanning machines, leaving Georgians uncertain
whether the bar codes match their votes.

      i. As part of the scheme and artifice to defraud the plaintiffs, the
      candidates and the voters of undiminished and unaltered voting
      results in a free and legal election, the Defendants and other persons
      known and unknown committed the following violations of law:

50 U.S.C. § 20701 requires the retention and preservation of records and
papers by officers of elections under penalty of fine and imprisonment:

      § 20701. Retention and preservation of records and papers by
      officers of elections; deposit with custodian; penalty for violation

      Every officer of election shall retain and preserve, for a period of
      twenty-two months from the date of any general, special, or primary
      election of which candidates for the office of President, Vice
      President, presidential elector, Member of the Senate, Member of the
      House of Representatives, or Resident Commissioner from the
      Commonwealth of Puerto Rico are voted for, all records and papers
      which come into his possession relating to any application,
      registration, payment of poll tax, or other act requisite to voting
      in such election, except that, when required by law, such records and
      papers may be delivered to another officer of election and except that,
      if a State or the Commonwealth of Puerto Rico designates a custodian
      to retain and preserve these records and papers at a specified place,
      then such records and papers may be deposited with such custodian,
      and the duty to retain and preserve any record or paper so deposited
      shall devolve upon such custodian. Any officer of election or
      custodian who willfully fails to comply with this section shall be fined
      not more than $1,000 or imprisoned not more than one year, or both.

50 U.S.C.§ 20701.

Answer: The Democratic Political Party Committees admit that the quoted

language is from 52 U.S.C. § 20701. As to the 2019 report regarding
                                  50
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 53 of 112




      Dominion machines, the Democratic Political Party Committees lack

      knowledge and information sufficient to form a belief about the truth of these

      allegations and, on that basis, deny the same. Democratic Political Party

      Committees deny each other or different allegation.

99.         Paragraph 99 of Plaintiffs’ Complaint states:

      In the primaries it was confirmed that, “The rapid introduction of new
      technologies and processes in state voting systems heightens the risk of
      foreign interference and insider tampering. That’s true even if simple human
      error or local maneuvering for political advantage are more likely threats.

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from the cited article and deny each other or different allegation.

100.        Paragraph 100 of Plaintiffs’ Complaint states:

      A Penn Wharton Study from 2016 concluded that “Voters and their
      representatives in government, often prompted by news of high-profile
      voting problems, also have raised concerns about the reliability and integrity
      of the voting process, and have increasingly called for the use of modern
      technology such as laptops and tablets to improve convenience.”

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from the cited article and deny each other or different allegation.

101.        Paragraph 101 of Plaintiffs’ Complaint states:

      As evidence of the defects or features of the Dominion Democracy Suite, as
      described above, the same Dominion Democracy Suite was denied
      certification in Texas by the Secretary of State on January 24, 2020


                                         51
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 54 of 112




  specifically because of a lack of evidence of efficiency and accuracy and
  to be safe from fraud or unauthorized manipulation.

  Answer: The Democratic Political Party Committees lack knowledge and

  information sufficient to form a belief about the truth of the allegations in

  Paragraph 101 and, on that basis, deny the same.

102.    Paragraph 102 of Plaintiffs’ Complaint states:

  Plaintiffs have since learned that the "glitches" in the Dominion system–that
  have the uniform effect of taking votes from Trump and shifting them to
  Biden—have been widely reported in the press and confirmed by the
  analysis of independent experts.

  Answer: Denied.

103.    Paragraph 103 of Plaintiffs’ Complaint states:

  Plaintiffs can show, through expert and fact witnesses that:

        c. Dominion/ Smartmatic Systems Have Massive End User
        Vulnerabilities.

        1. Users on the ground have full admin privileges to machines and
        software. Having been created to “rig” elections, the Dominion
        system is designed to facilitate vulnerability and allow a select few to
        determine which votes will be counted in any election. Workers were
        responsible for moving ballot data from polling place to the
        collector’s office and inputting it into the correct folder. Any anomaly,
        such as pen drips or bleeds, results in a ballot being rejected. It is then
        handed over to a poll worker to analyze and decide if it should count.
        This creates massive opportunity for purely discretionary and
        improper vote “adjudication.”



                                     52
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 55 of 112




        2. Affiant witness (name redacted for security reasons), in his sworn
        testimony explains he was selected for the national security guard
        detail of the President of Venezuela, and that he witnessed the
        creation of Smartmatic for the purpose of election vote manipulation
        to insure Venezuelan dictator Hugo Chavez never lost an election and
        he saw it work. Id.

        “The purpose of this conspiracy was to create and operate a voting
        system that could change the votes in elections from votes against
        persons running the Venezuelan government to votes in their favor in
        order to maintain control of the government.”

  (See Exh. 2, pars. 6, 9, 10).

  Answer: Denied.

104.    Paragraph 104 of Plaintiffs’ Complaint states:

  Smartmatic’s incorporators and inventors have backgrounds evidencing their
  foreign connections, including Venezuela and Serbia, specifically its
  identified inventors:

        Applicant: SMARTMATIC, CORP.

        Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic,
        Jeffrey Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli,
        Gisela Goncalves, Yrem Caruso.

  Answer: The Democratic Political Party Committees lack knowledge and

  information sufficient to form a belief about the truth of the substance of the

  quoted language or any other or different allegation in Paragraph 104 and, on

  that basis, deny the same.

105.    Paragraph 105 of Plaintiffs’ Complaint states:

                                    53
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 56 of 112




  The presence of Smartmatic in the United States—owned by foreign
  nationals, and Dominion, a Canadian company with its offices such as the
  Office of General Counsel in Germany, would have to be approved by
  CFIUS. CFIUS was created in 1988 by the Exon-Florio Amendment to the
  Defense Production Act of 1950. CFIUS’ authorizing statute was amended
  by the Foreign Investment and National Security Act of 2007 (FINSA).

        As amended, section 721 of the DPA directs "the President, acting
        through [CFIUS]," to review a "covered transaction to determine
        the effects of the transaction on the national security of the United
        States." 50 U.S.C. app. § 2170(b)(1)(A). Section 721 defines a
        covered transaction as "any merger, acquisition, or takeover …, by or
        with any foreign person which could result in foreign control of any
        person engaged in interstate commerce in the United States." Id. §
        2170(a)(3). Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296, 302,
        411 U.S. App. D.C. 105, 111, (2014). Review of covered transactions
        under section 721 begins with CFIUS. As noted, CFIUS is chaired by
        the Treasury Secretary and its members include the heads of various
        federal agencies and other high-ranking Government officials with
        foreign policy, national security and economic responsibilities.

  Answer: The Democratic Political Party Committees lack knowledge and

  information sufficient to form a belief about the truth of the substance of the

  apparently quoted language or any other or different allegation in Paragraph

  105 and, on that basis, deny the same.

106.    Paragraph 106 of Plaintiffs’ Complaint states:

  Then Congresswoman Carolyn Maloney wrote October 6, 2006 to the
  Secretary of Treasury, Henry M. Paulson, Jr., Objecting to approval of
  Dominion/Smartmatic by CFIUS because of its corrupt Venezuelan
  origination, ownership and control. (See attached hereto as Exh. 24, Carolyn
  Maloney Letter of October 6, 2006). Our own government has long known

                                    54
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 57 of 112




  of this foreign interference on our most important right to vote, and it had
  either responded with incompetence, negligence, willful blindness, or abject
  corruption. In every CFIUS case, there are two TS/SCI reports generated.
  One by the ODNI on the threat and one by DHS on risk to critical
  infrastructure. Smartmatic was a known problem when it was nonetheless
  approved by CFIUS.

  Answer: The Democratic Political Party Committees admit that Exhibit 24 is

  a letter sent by Congresswoman Maloney to Secretary Paulson and deny each

  other or different allegation in paragraph 106 of Plaintiffs’ complaint.

107.    Paragraph 107 of Plaintiffs’ Complaint states:

  The Wall Street Journal in 2006 did an investigative piece and found that,
  “Smartmatic came to prominence in 2004 when its machines were used in an
  election to recall President Chávez, which Mr. Chávez won handily -- and
  which the Venezuelan opposition said was riddled with fraud. Smartmatic
  put together a consortium to conduct the recall elections, including a
  company called Bizta Corp., in which Smartmatic owners had a large stake.
  For a time, the Venezuelan government had a 28% stake in Bizta in
  exchange for a loan.’ …“Bizta paid off the loan in 2004, and Smartmatic
  bought the company the following year. But accusations of Chávez
  government control of Smartmatic never ended, especially since Smartmatic
  scrapped a simple corporate structure, in which it was based in the U.S. with
  a Venezuelan subsidiary, for a far more complex arrangement. The company
  said it made the change for tax reasons, but critics, including Rep. Carolyn
  Maloney (D., N.Y.) and TV journalist Lou Dobbs, pounded the company for
  alleged links to the Chávez regime. Id. Since its purchase by Smartmatic,
  Sequoia's sales have risen sharply to a projected $200 million in 2006, said
  Smartmatic's chief executive, Anthony Mugica.” Id.

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from a Wall Street Journal article but lack knowledge and

                                     55
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 58 of 112




  information sufficient to form a belief about the truth of the substance of the

  language and, on that basis, deny the same. The Democratic Political Party

  Committees deny each other or different allegation in Paragraph 107.

108.    Paragraph 108 of Plaintiffs’ Complaint states:

  Indeed, Mr. Cobucci testified, through his sworn affidavit, that he born in
  Venezuela, is cousins with Antonio (‘Anthony’) Mugica, and he has
  personal knowledge of the fact that Anthony Mugica incorporated
  Smartmatic in the U.S. in 2000 with other family members in Venezuela
  listed as owners. He also has personal knowledge that Anthony Mugica
  manipulated Smartmatic to ensure the election for Chavez in the 2004
  Referendum in Venezuela. He also testified, through his sworn affidavit, that
  Anthony Mugica received tens of millions of dollars from 2003- 2015 from
  the Venezuelan government to ensure Smartmatic technology would be
  implemented around the world, including in the U.S. (See attached hereto,
  Exh. 25, Juan Carlos Cobucci Aff.)

  Answer: The Democratic Political Party Committees admit that the

  referenced allegations are from Exhibit 25 of Plaintiffs’ complaint but lack

  knowledge and information sufficient to form a belief about the truth of the

  substance of the allegations, and on that basis, deny the same. The Democratic

  Political Party Committees deny each other or different allegation in

  Paragraph 108.

109.    Paragraph 109 of Plaintiffs’ Complaint states:

  Another Affiant witness testifies that in Venezuela, she was in an official
  position related to elections and witnessed manipulations of petitions to
  prevent a removal of President Chavez and because she protested, she was
                                    56
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 59 of 112




  summarily dismissed. Corroborating the testimony of our secret witness, and
  our witness Mr. Cobucci, cousin of Anthony Mugica, who began
  Smartmatic, and this witness explains the vulnerabilities of the electronic
  voting system and Smartmatica to such manipulations. (See Exh. 3, Diaz
  Cardozo Aff).

  Answer: The Democratic Political Party Committees admit that the

  referenced allegations are from Exhibit 3 of Plaintiffs’ complaint but lack

  knowledge and information sufficient to form a belief about the truth of the

  substance of the allegations, and on that basis, deny the same. The Democratic

  Political Party Committees deny each other or different allegation in

  Paragraph 109.

110.    Paragraph 110 of Plaintiffs’ Complaint states:

  Specific vulnerabilities of the systems in question that have been
  documented or reported include:

        a. Barcodes can override the voters’ vote: As one University of
        California, Berkeley study shows, “In all three of these machines
        [including Dominion Voting Systems] the ballot marking printer is in
        the same paper path as the mechanism to deposit marked ballots into
        an attached ballot box. This opens up a very serious security
        vulnerability: the voting machine can make the paper ballot (to add
        votes or spoil already-cast votes) after the last time the voter sees the
        paper, and then deposit that marked ballot into the ballot box without
        the possibility of detection.” (See Exh. 7).

        b. Voting machines were able to be connected to the internet by way
        of laptops that were obviously internet accessible. If one laptop was
        connected to the internet, the entire precinct was compromised.

                                     57
Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 60 of 112




     c. We … discovered that at least some jurisdictions were not aware
     that their systems were online,” said Kevin Skoglund, an independent
     security consultant who conducted the research with nine others, all of
     them long-time security professionals and academics with expertise in
     election security. Vice. August 2019.

     d. October 6, 2006 – Congresswoman Carolyn Maloney called on
     Secretary of Treasury Henry Paulson to conduct an investigation into
     Smartmatic based on its foreign ownership and ties to Venezuela. (See
     Exh. 24)

     e. Congresswoman Maloney wrote that “It is undisputed that
     Smartmatic is foreign owned and it has acquired Sequoia …
     Smartmatica now acknowledged that Antonio Mugica, a Venezuelan
     businessman has a controlling interest in Smartmatica, but the
     company has not revealed who all other Smartmatic owners are.” Id.

     f. Dominion “got into trouble” with several subsidiaries it used over
     alleged cases of fraud. One subsidiary is Smartmatic, a company “that
     has played a significant role in the U.S. market over the last decade,”
     according to a report published by UK-based AccessWire.

     g. Litigation over Smartmatic “glitches” alleges they impacted the
     2010 and 2013 mid-term elections in the Philippines, raising questions
     of cheating and fraud. An independent review of the source codes
     used in the machines found multiple problems, which concluded,
     “The software inventory provided by Smartmatic is inadequate, …
     which brings into question the software credibility…”

     h. Dominion acquired Sequoia Voting Systems as well as Premier
     Election Solutions (formerly part of Diebold, which sold Premier to
     ES&S in 2009, until antitrust issues forced ES&S to sell Premier,
     which then was acquired by Dominion).

     i. Dominion entered into a 2009 contract with Smartmatic and
     provided Smartmatic with the PCOS machines (optical scanners) that
     were used in the 2010 Philippine election—the biggest automated
                                 58
Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 61 of 112




      election run by a private company. The international community
      hailed the automation of that first election in the Philippines. The
      results’ transmission reached 90% of votes four hours after polls
      closed and Filipinos knew for the first time who would be their new
      president on Election Day. In keeping with local election law
      requirements, Smartmatic and Dominion were required to provide the
      source code of the voting machines prior to elections so that it could
      be independently verified.

      j. In late December of 2019, three Democrat Senators, Warren,
      Klobuchar, Wyden, and House Member Mark Pocan wrote about their
      ‘particularized concerns that secretive & “trouble -plagued
      companies”’ “have long skimped on security in favor of
      convenience,” in the context of how they described the voting
      machine systems that three large vendors – Election Systems &
      Software, Dominion Voting Systems, & Hart InterCivic – collectively
      provide voting machines & software that facilitate voting for over
      90% of all eligible voters in the U.S.” (See attached hereto as Exh. 26,
      copy of Senator Warren, Klobuchar, Wyden’s December 6, 2019
      letter).

      k. Senator Ron Wyden (D-Oregon) said the findings [insecurity of
      voting systems] are “yet another damning indictment of the
      profiteering election vendors, who care more about the bottom line
      than protecting our democracy.” It’s also an indictment, he said, “of
      the notion that important cybersecurity decisions should be left
      entirely to county election offices, many of whom do not employ a
      single cybersecurity specialist.”

Answer: The Democratic Political Party Committees admit that Plaintiffs

have cited various studies, news articles, and letters, but lack knowledge and

information sufficient to form a belief about the truth of the of the allegations

in Paragraph 110 and, on that basis, deny the same.

                                   59
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 62 of 112




111.    Paragraph 111 of Plaintiffs’ Complaint states:

  An analysis of the Dominion software system by a former US Military
  Intelligence expert concludes that the system and software have been
  accessible and were certainly compromised by rogue actors, such as Iran and
  China. By using servers and employees conected with rogue actors and
  hostile foreign influences combined with numerous easily discoverable
  leaked credentials, Dominion neglectfully allowed foreign adversaries to
  access data and intentionally provided access to their infrastructure in order
  to monitor and manipulate elections, including the most recent one in 2020.
  (See Exh. 7).

  Answer: The Democratic Political Party Committees admit that the

  referenced allegations are from Exhibit 7 to Plaintiffs’ Complaint. The

  Democratic Political Party Committees deny each other or different allegation

  in Paragraph 111.

112.    Paragraph 112 of Plaintiffs’ Complaint states:

  An expert witness in pending litigation in the United States District Court,
  Northern District Court of Georgia, Atlanta Div., 17-cv-02989 specifically
  testified to the acute security vulnerabilities, among other facts, by
  declaration filed on October 4, 2020, (See Exh. 4B, Document 959-4
  attached hereto, paragraph. 18 and 20 of p. 28, Exh. 4, Hursti Declaration).
  wherein he testified or found:

  1) The failure of the Dominion software “to meet the methods and processes
  for national standards for managing voting system problems and should not
  be accepted for use in a public election under any circumstances.”

  2) In Hursti’s declaration he explained that “There is evidence of remote
  access and remote troubleshooting which presents a grave security
  implication and certified identified vulnerabilities should be considered an
  “extreme security risk.” Id. Hari Hursti also explained that USB drives with
                                    60
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 63 of 112




  vote tally information were observed to be removed from the presence of
  poll watchers during a recent election. Id. The fact that there are no controls
  of the USB drives was seen recently seen the lack of physical security and
  compliance with professional standards, " in one Georgia County, where it is
  reported that 3,300 votes were found on memory sticks not loaded plus in
  Floyd county, another 2,600 were unscanned, and the “found votes” reduced
  Biden’s lead over Donald Trump.

  (a) In the prior case against Dominion, supra, further implicating the secrecy
  behind the software used in Dominion Systems, Dr. Eric Coomer, a Vice
  President of Dominion Voting Systems, testified that even he was not sure of
  what testing solutions were available to test problems or how that was done,
  “I have got to be honest, we might be a little bit out of my bounds of
  understanding the rules and regulations… and in response to a question on
  testing for voting systems problems in relation to issues identified in 2
  counties, he explained that “Your Honor, I’m not sure of the complete test
  plan… Again Pro V&V themselves determine what test plan in necessary
  based on their analysis of the code itself.” (Id. at Document 959-4, pages 53,
  62 L.25- p. 63 L3).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Exhibit 4, paragraphs 18 and 20. The Democratic Political

  Party Committees lack knowledge and information sufficient to form a belief

  about the truth of the substance of the quoted language or any other or

  different allegation in Paragraph 112 and, on that basis, deny the same.

113.    Paragraph 113 of Plaintiffs’ Complaint states:

  Hursti stated within said Declaration:

  “The security risks outlined above – operating system risks, the failure to
  harden the computers, performing operations directly on the operating
  systems, lax control of memory cards, lack of procedures, and potential
                                     61
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 64 of 112




  remote access are extreme and destroy the credibility of the tabulations and
  output of the reports coming from a voting system.”

  (See Paragraph 49 of Hursti Declaration).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from the Exhibit 4, paragraph 49. The Democratic Political Party

  Committees lack knowledge and information sufficient to form a belief about

  the truth of the substance of the quoted language or any other or different

  allegation in Paragraph 113 and, on that basis, deny the same.

114.    Paragraph 114 of Plaintiffs’ Complaint states:

  Rather than engaging in an open and transparent process to give credibility
  to Georgia’s brand-new voting system, the election processes were hidden
  during the receipt, review, opening, and tabulation of those votes in direct
  contravention of Georgia’s Election Code and federal law.

  Answer: Denied.

115.    Paragraph 115 of Plaintiffs’ Complaint states:

  The House of Representatives passed H.R. 2722 in an attempt to address
  these very risks identified by Hursti, on June 27, 2019:

        This bill addresses election security through grant programs and
        requirements for voting systems and paper ballots.

        The bill establishes requirements for voting systems, including that
        systems (1) use individual, durable, voter-verified paper ballots; (2)
        make a voter's marked ballot available for inspection and verification
        by the voter before the vote is cast; (3) ensure that individuals with
        disabilities are given an equivalent opportunity to vote, including with
        privacy and independence, in a manner that produces a voter-verified
                                     62
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 65 of 112




        paper ballot; (4) be manufactured in the United States; and (5) meet
        specified cybersecurity requirements, including the prohibition of the
        connection of a voting system to the internet.

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from H.R. 2722 and deny each other or different allegation in

  Paragraph 115.

116.    Paragraph 116 of Plaintiffs’ Complaint states:

  On November 4, 2020, the Georgia GOP Chairman issued the following
  statement:

        “Let me repeat. Fulton County elections officials told the media and
        our observers that they were shutting down the tabulation center at
        State Farm Arena at 10:30 p.m. on election night to continue counting
        ballots in secret until 1:00 a.m.

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from a statement of the Georgia GOP Chairman and deny each

  other or different allegation in Paragraph 116.

117.    Paragraph 117 of Plaintiffs’ Complaint states:

  It was widely reported that "As of 7 p.m. on Wednesday Fulton County
  Elections officials said 30,000 absentee ballots were not processed due to a
  pipe burst.” Officials reassured voters that none of the ballots were damaged
  and the water was quickly cleaned up. But the emergency delayed officials
  from processing ballots between 5:30 a.m. and 9:30 a.m. Officials say they
  continued to count beginning at 8:30 a.m. Wednesday. The statement from
  Fulton County continues:



                                    63
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 66 of 112




        "Tonight, Fulton County will report results for approximately 86,000
        absentee ballots, as well as Election Day and Early Voting results.
        These represent the vast majority of ballots cast within Fulton County.

        "As planned, Fulton County will continue to tabulate the remainder of
        absentee ballots over the next two days. Absentee ballot processing
        requires that each ballot is opened, signatures verified, and ballots
        scanned. This is a labor-intensive process that takes longer to tabulate
        than other forms of voting. Fulton County did not anticipate having all
        absentee ballots processed on Election Day." Officials said they will
        work to ensure every vote is counted and all laws and regulations are
        followed.

  Answer: The Democratic Political Party Committees admit that the quoted

  language appears in the cited news articles and deny each other or different

  allegation in Paragraph 117.

118.    Paragraph 118 of Plaintiffs’ Complaint states:

  Plaintiffs have learned that the representation about “a water leak affecting
  the room where absentee ballots were counted” was not true. The only water
  leak that needed repairs at State Farm Arena from November 3 – November
  5 was a toilet overflow that occurred earlier on November 3. It had nothing
  to do with a room with ballot counting, but the false water break
  representation led to “everyone being sent home.” Nonetheless, first six (6)
  people, then three (3) people stayed until 1:05 a.m. working on the
  computers.

  Answer: The Democratic Political Party Committees lack knowledge and

  information sufficient to form a belief about the truth of the substance of the

  quoted language or any other or different allegation in Paragraph 118 and, on



                                    64
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 67 of 112




  that basis, deny the same. The Democratic Political Party Committees deny

  each other or different allegation in Paragraph 118.

119.    Paragraph 119 of Plaintiffs’ Complaint states:

  An Affiant recounts how she was present at State Farm Arena on November
  3, and saw election workers remaining behind after people were told to
  leave. (See Exh. 28, Affidavit of Mitchell Harrison; Exh. 29, Affid. of
  Michelle Branton)

  Answer: The Democratic Political Party Committees lack knowledge and

  information sufficient to form a belief about the truth of the allegatins in

  Paragraph 119 and, on that basis, deny the same.

120.    Paragraph 120 of Plaintiffs’ Complaint states:

  Plaintiffs have also learned through several reports that in 2010 Eric Coomer
  joined Dominion as Vice President of U.S. Engineering. According to his
  bio, Coomer graduated from the University of California, Berkeley with a
  Ph.D. in Nuclear Physics. Eric Coomer was later promoted to Voting
  Systems Officer of Strategy and Security although Coomer has since been
  removed from the Dominion page of directors. Dominion altered its website
  after Colorado resident Joe Oltmann disclosed that as a reporter he infiltrated
  ANTIFA, a domestic terrorist organization where he recorded Eric Coomer
  representing: “Don’t worry. Trump won’t win the election, we fixed that.” –
  as well as social media posts with violence threatened against President
  Trump. (See Joe Oltmann interview with Michelle Malkin dated November
  13, 2020 which contains copies of Eric Coomer’s recording and tweets).

  Answer: The Democratic Political Party Committees lack information or

  knowledge sufficient to form a belief as to the truth of each other or different

  allegation in Paragraph 120 and, on that basis, deny the same.
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   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 68 of 112




121.    Paragraph 121 of Plaintiffs’ Complaint states:

  While the bedrock of American elections has been transparency, almost
  every crucial aspect of Georgia’s November 3, 2020, General Election was
  shrouded in secrecy, rife with “errors,” and permeated with anomalies so
  egregious as to render the results incapable of certification:

  Answer: Denied.

122.    Paragraph 122 of Plaintiffs’ Complaint states:

  As evidenced by numerous public reports, expert reports, and witness
  statements, Defendants egregious misconduct has included ignoring
  legislative mandates concerning mail-in and ordinary ballots and led to
  disenfranchisement of an enormous number of Georgia voters. Plaintiffs
  experts can show that, consistent with the above specific misrepresentations,
  analysis of voting data reveals the following:

  (a) Regarding uncounted mail ballots, based on evidence gathered by Matt
  Braynard in the form of recorded calls and declarations of voters, and
  analyzed by Plaintiff’s expert, Williams M. Briggs, PhD, shows, based on a
  statistically significant sample, that the total number of mail ballots that
  voters mailed in, but were never counted, have a 95% likelihood of
  falling between 31,559 and 38,886 total lost votes. This range exceeds the
  margin of loss of President Trump of 12,670 votes by at least 18,889 lost
  votes and by as many as 26,196 lost votes. (See Exh. 1, Dr. Briggs’ Report,
  with attachments).

  (b) Plaintiff’s expert also finds that voters received tens of thousands of
  ballots that they never requested. (See Exh. 1). Specifically, Dr. Briggs
  found that in the state of Georgia, based on a statistically significant sample,
  the expected amount of persons that received an absentee ballot that they did
  not request ranges from 16,938 to 22,771. This range exceeds the margin
  of loss of President Trump by 12,670 votes by at least 4,268 unlawful
  requests and by as many as 10,101 unlawful requests. Id.


                                     66
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 69 of 112




  (c) This widespread pattern, as reflected within the population of unreturned
  ballots analyzed by Dr. Briggs, reveals the unavoidable reality that, in
  addition to the calculations herein, third parties voted an untold number of
  unlawfully acquired absentee or mail-in ballots, which would not be in the
  database of unreturned ballots analyzed here. See O.G.C.A. 21-2-522. These
  unlawfully voted ballots prohibited properly registered persons from
  voting and reveal a pattern of widespread fraud down ballot as well.

  (d) Further, as calculated by Matt Braynard, there exists clear evidence
  of 20,311 absentee or early voters in Georgia that voted while registered
  as having moved out of state. (See Id., attachment to report). Specifically,
  these persons were showing on the National Change of Address Database
  (NCOA) as having moved, or as having filed subsequent voter registration in
  another state also as evidence that they moved and even potentially voted in
  another state. The 20,311 votes by persons documented as having moved
  exceeds the margin by which Donald Trump lost the election by 7,641 votes.

  (e) Applying pro-rata the above calculations separately to Cobb County
  based on the number of unreturned ballots, a range of 1,255 and 1,687
  ballots ordered by 3rd parties and a range of 2,338 and 2,897 lost mail
  ballots, plus 10,684 voters documented in the NCOA as having moved, for a
  combined minimum of 14,276 missing and unlawful ballots, and
  maximum of 15,250 missing and unlawful ballots, which exceeds the
  statewide Presidential race total margin by a range of as few as 1,606
  ballots and as many as 2,580 in the County of Cobb alone impacting the
  Cobb County Republican Party (“Cobb County Republicans”).

  Answer: Denied.

123.    Paragraph 123 of Plaintiffs’ Complaint states:

  As seen from the expert analysis of Eric Quinnell, mathematical anomalies
  further support these findings, when in various districts within Fulton
  County such as vote gains that exceed reasonable expectations when
  compared to 2016, and a failure of gains to be normally distributed but
  instead shifting substantially toward the tail of the distribution in what is

                                     67
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 70 of 112




  known as a platykurtic distribution. Dr. Quinell identifies numerous
  anomalies such as votes to Biden in excess of 2016 exceed the registrations
  that are in excess of 2016. Ultimately, he identifies the counties in order of
  their excess performance over what would have fit in a normal distribution
  of voting gains, revealing a list of the most anomalous counties down to the
  least. These various anomalies provide evidence of voting irregularities. (See
  Exh.27, Declaration of Eric Quinnell, with attachments).

  Answer: The Democratic Political Party Committees admit that Eric Quinnell

  makes the referenced allegations but deny the substance of those allegations

  and any other or different allegation in paragraph 123.

124.    Paragraph 124 of Plaintiffs’ Complaint states:

  In sum, with the expert analysis of William M. Briggs PhD based on
  recorded calls and declarations, the extent of missing AND unlawfully
  requested ballots create substantial evidence that the mail ballot system has
  fundamentally failed to provide a fair voting mechanism. In short, tens of
  thousands of votes did not count while the pattern of fraud makes clear that
  tens of thousands were improperly counted. This margin of victory in the
  election for Mr. Biden was only 12,670 and cannot withstand most of these
  criticisms individually and certainly not in aggregate.

  Answer: The Democratic Political Party Committees admit that Joe Biden

  won the presidential election and deny any other or different allegation in

  paragraph 124.

125.    Paragraph 125 of Plaintiffs’ Complaint states:

  Cobb county, based on lost votes, unlawfully requested votes and NCOA
  data on these facts alone would consume more than the entire margin of the
  statewide difference in the Presidential race. These election results must be
  reversed.
                                    68
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 71 of 112




  Answer: Denied.

126.    Paragraph 126 of Plaintiffs’ Complaint states:

  Applying pro-rata the above calculations separately to Cobb County based
  on the number of unreturned ballots, a range of 1,255 and 1,687 ballots
  ordered by 3rd parties and a range of 2,338 and 2,897 lost mail ballots, plus
  10,684 voters documented in the NCOA as having moved, for a combined
  minimum of 14,276 missing and unlawful ballots, and maximum of
  15,250 missing and unlawful ballots, which exceeds the statewide
  Presidential race total margin by a range of as few as 1,606 ballots and
  as many as 2,580 in the County of Cobb alone impacting the Cobb
  County Republican Party (“Cobb County Republicans”). (See Exh. 1).

  Answer: Denied.

127.    Paragraph 127 of Plaintiffs’ Complaint states:

  Mr. Braynard also found a pattern in Georgia of voters registered at totally
  fraudulent residence addresses, including shopping centers, mail drop stores
  and other non-residential facilities.

  Answer: The Democratic Political Party Committees admit that Mr. Braynard

  made the referenced allegations but deny the substance of those allegations

  and any other or different allegation in paragraph 127.

128.    Paragraph 128 of Plaintiffs’ Complaint states:

  In sum, with the expert analysis of William M. Briggs PhD based on
  extensive investigation, recorded calls and declarations collected by Matt
  Braynard, (See attachments to Exh. 1, Briggs’ report) the extent of missing
  and unlawfully requested ballots create substantial evidence that the mail
  ballot system has fundamentally failed to provide a fair voting mechanism.
  In short, tens of thousands of votes did not count while the pattern of fraud
  and mathematical anomalies that are impossible absent malign human
                                     69
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 72 of 112




  agency makes clear that tens of thousands were improperly counted. This
  margin of victory in the election for Mr. Biden was only 12,670 and cannot
  withstand most of these criticisms individually and certainly not in
  aggregate.

  Answer: Denied.

129.    Paragraph 129 of Plaintiffs’ Complaint states:

  Cobb county, based on lost votes, unlawfully requested votes and NCOA
  data on these facts alone would consume more than the entire margin of the
  statewide difference in the Presidential race.
  Answer: Denied.

130.    Paragraph 130 of Plaintiffs’ Complaint states:

  Russell Ramsland confirms that data breaches in the Dominion software
  permitted rogue actors to penetrate and manipulate the software during the
  recent general election. He further concludes that at least 96,600 mail-in
  ballots were illegally counted as they were not cast by legal voters.

  Answer: The Democratic Political Party Committees admit that Exhibit

  makes these allegations about Dominion software but deny the substance of

  those allegations and any other or different allegations in Paragraph 130.

131.    Paragraph 131 of Plaintiffs’ Complaint states:

  In sum, as set forth above, for a host of independent reasons, the Georgia
  certified election results concluding that Joe Biden received 12,670 more
  votes that President Donald Trump must be set aside.

  Answer: Denied.




                                    70
    Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 73 of 112




                                   COUNT I

DEFENDANTS VIOLATED THE ELECTIONS CLAUSE AND 42 U.S.C. §
                        1983
 132.    Paragraph 132 of Plaintiffs’ Complaint states:

   Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

   Answer: The Democratic Political Party Committees incorporate the

   responses to the foregoing paragraphs as if fully set forth herein.

 133.    Paragraph 133 of Plaintiffs’ Complaint states:

   The Electors Clause states that “[e]ach State shall appoint, in such Manner
   as the Legislature thereof may direct, a Number of Electors” for President.
   Art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause of the
   U.S. Constitution states that “[t]he Times, Places, and Manner of holding
   Elections for Senators and Representatives, shall be prescribed in each State
   by the Legislature thereof.” Art. I, § 4, cl. 1 (emphasis added).

   Answer: The Democratic Political Party Committees admit that the quoted

   language is from U.S. Const. Art. II § 1, cl. 2 and Art. I § 4, cl. 1 and deny

   each other or different allegation in Paragraph 133.

 134.    Paragraph 134 of Plaintiffs’ Complaint states:

   The Legislature is “‘the representative body which ma[kes] the laws of the
   people.’” Smiley, 285 U.S. at 193. Regulations of congressional and
   presidential elections, thus, “must be in accordance with the method which
   the state has prescribed for legislative enactments.” Id. at 367; see also Ariz.
   State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652,
   2668 (2015).


                                       71
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 74 of 112




  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Smiley. To the extent Plaintiffs’ characterization and

  interpretation of the cited law differs from the text of the cited cases, the

  Democratic Political Party Committees deny the allegations.

135.    Paragraph 135 of Plaintiffs’ Complaint states:

  Defendants are not part of the General Assembly and cannot exercise
  legislative power. Rather, Defendants’ power is limited to “tak[ing] care that
  the laws be faithfully executed.” Pa. Const. Art. IV, § 2. Because the United
  States Constitution reserves for the General Assembly the power to set the
  time, place, and manner of holding elections for the President and Congress,
  county boards of elections and state executive officers have no authority to
  unilaterally exercise that power, much less to hold them in ways that conflict
  with existing legislation.

  Answer: The Democratic Political Party Committees admit that the

  Defendants are not part of the General Assembly. The Democratic Political

  Party Committees further admit that Article IV § 2 of the Pennsylvania

  Constitution charges the Governor of that state with “tak[ing] care that the

  laws be faithfully executed” but denies that this provision of the Pennsylvania

  Constitution limits Defendants’ power or is otherwise relevant to this case.

  The remaining allegations of Paragraph 135 contain characterizations, legal

  contentions, conclusions, and opinions to which no response is required. To




                                    72
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 75 of 112




  the extent a response is required the Democratic Political Party Committees

  deny the same.

136.    Paragraph 136 of Plaintiffs’ Complaint states:

  Defendants are not the legislature, and their unilateral decision to create a
  “cure procedure” violates the Electors and Elections Clauses of the United
  States Constitution.

  Answer: The Democratic Political Party Committees admit that the

  Defendants are not the legislature. The remaining allegations of Paragraph

  136 contain characterizations, legal contentions, conclusions, and opinions to

  which no response is required. To the extent a response is required, the

  Democratic Political Party Committees deny the same.

137.    Paragraph 137 of Plaintiffs’ Complaint states:

  The Secretary of State and the State Election Board are not the legislature,
  and their decision to permit early processing of absentee ballots in direct
  violation of the unambiguous requirements of O.C.G.A. § 21-2-386(a)(2)
  violates the Electors and Elections Clauses of the United States Constitution.

  Answer: The Democratic Political Party Committees admit that the Secretary

  of State and the State Election Board are not the legislature. The remaining

  allegations of Paragraph 137 contain characterizations, legal contentions,

  conclusions, and opinions to which no response is required. To the extent a




                                     73
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 76 of 112




  response is required, the Democratic Political Party Committees deny the

  same.

138.      Paragraph 138 of Plaintiffs’ Complaint states:

  Many Affiants testified to many legal infractions in the voting process,
  including specifically switching absentee ballots or mail-in ballots for
  Trump to Biden. Even a Democrat testified in his sworn affidavit that
  before he was forced to move back to where he could not see, he had in fact
  seen, “I also saw absentee ballots for Trump inserted into Biden’s stack, and
  counted as Biden votes. This occurred a few times”. (See Exh. 18, Par. 12).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Exhibit 18, Paragraph 12 to Plaintiffs’ Complaint. The

  Democratic Political Party Committees deny the substance of the quoted

  language and further deny each other or different allegation in Paragraph 138.

139.      Paragraph 139 of Plaintiffs’ Complaint states:

  Plaintiffs’ expert also finds that voters received tens of thousands of ballots
  that they never requested. (See Exh. 1, Dr. Briggs’ Report). Specifically, Dr.
  Briggs found that in the state of Georgia, based on a statistically significant
  sample, the expected amount of persons that received an absentee ballot that
  they did not request one ranges from 16,938 to 22,771. This range exceeds
  the margin of loss of President Trump by 12,670 votes by at least 4,268
  unlawful requests and by as many as 10,101 unlawful requests.

  Answer: The Democratic Political Party Committees admit that the data in

  Paragraph 139 is from Exhibit 1 to Plaintiffs’ Complaint. Plaintiffs lack

  information or knowledge sufficient to form a belief as to the truth of each


                                     74
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 77 of 112




  other or different allegation in Paragraph 139 and, on that basis, deny the

  same.

140.      Paragraph 140 of Plaintiffs’ Complaint states:

  This widespread pattern, as reflected within the population of unreturned
  ballots analyzed by Dr. Briggs, reveals the unavoidable reality that, in
  addition to the calculations herein, third parties voted an untold number of
  unlawfully acquired absentee or mail-in ballots, which would not be in the
  database of unreturned ballots analyzed here. See O.G.C.A. 21-2-522.
  These unlawfully voted ballots prohibited properly registered persons from
  voting and reveal a pattern of widespread fraud.

  Answer: Denied.

141.      Paragraph 141 of Plaintiffs’ Complaint states:

  Further, as shown by data collected by Matt Braynard, there exists clear
  evidence of 20,311 absentee or early voters in Georgia that voted while
  registered as having moved out of state. Specifically, these persons were
  showing on the National Change of Address Database (NCOA) as having
  moved, or as having filed subsequent voter registration in another state also
  as evidence that they moved and even potentially voted in another state. The
  20,311 votes by persons documented as having moved exceeds the margin
  by which Donald Trump lost the election by 7,641 votes.

  Answer:      Democratic Political Party Committees lack knowledge or

  information sufficient to form a belief as to the truth of the allegations of

  Paragraph 141 and, on that basis, deny the same.

142.      Paragraph 142 of Plaintiffs’ Complaint states:

  Plaintiffs have no adequate remedy at law and will suffer serious and
  irreparable harm unless the injunctive relief requested herein is granted.
                                     75
     Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 78 of 112




    Defendants have acted and, unless enjoined, will act under color of state law
    to violate the Elections Clauses of the Constitution. Accordingly, the results
    for President and Congress in the November 3, 2020 election must be set
    aside. The results are infected with Constitutional violations.

    Answer: Denied.

                                  COUNT II

 THE SECRETARY OF STATE AND GEORGIA COUNTIES VIOLATED
THE FOURTEENTH AMENDMENT U.S. CONST. AMEND. XIV, 42 U.S.C.
                         § 1983

                   DENIAL OF EQUAL PROTECTION

         INVALID ENACTMENT OF REGULATIONS AFFECTING
         OBSERVATION AND MONITORING OF THE ELECTION

  143.     Paragraph 143 of Plaintiffs’ Complaint states:

    Plaintiffs refer to and incorporate by reference each of the prior paragraphs
    of this Complaint as though the same were repeated at length herein.

    Answer: The Democratic Political Party Committees incorporate the

    responses to the foregoing paragraphs as if fully set forth herein.

  144.     Paragraph 144 of Plaintiffs’ Complaint states:

    The Fourteenth Amendment of the United States Constitution provides “nor
    shall any state deprive any person of life, liberty, or property, without due
    process of law; nor deny to any person within its jurisdiction the equal
    protection of the laws. See also Bush v. Gore, 531 U.S. 98, 104
    (2000)(having once granted the right to vote on equal terms, the State may
    not, by later arbitrary and disparate treatment, value one person’s vote over
    the value of another’s). Harper v. Virginia Board of Elections, 383 U.S.
    663, 665 (1966) (“Once the franchise is granted to the electorate, lines may
                                       76
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 79 of 112




  not be drawn which are inconsistent with the Equal Protection Clause of the
  Fourteenth Amendment.”).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from the Fourteenth Amendment of the United States

  Constitution, Bush, and Harper. To the extent Plaintiffs’ characterization and

  interpretation of the cited law differs from the text of the cited provision and

  cases, the Democratic Political Party Committees deny the allegations.

145.    Paragraph 145 of Plaintiffs’ Complaint states:

  The Court has held that to ensure equal protection, a “problem inheres in the
  absence of specific standards to ensure its equal application. The formulation
  of uniform rules to determine intent based on these recurring circumstances
  is practicable and, we conclude, necessary.” Bush v. Gore, 531 U.S. 98,
  106, 121 S. Ct. 525, 530, 148 L. Ed. 2d 388 (2000).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Bush. To the extent Plaintiffs’ characterization and

  interpretation of the cited law differs from the text of the cited case, the

  Democratic Political Party Committees deny the allegations.

146.    Paragraph 146 of Plaintiffs’ Complaint states:

  The equal enforcement of election laws is necessary to preserve our most
  basic and fundamental rights. The requirement of equal protection is
  particularly stringently enforced as to laws that affect the exercise of
  fundamental rights, including the right to vote.



                                     77
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 80 of 112




  Answer: Paragraph 146 of Plaintiffs’ Complaint contains characterizations,

  legal contentions, conclusions, and opinions to which no response is required.

  To the extent the characterization of the law is inaccurate or intended to apply

  to the claims here, the Democratic Political Party Committees deny the same.

147.    Paragraph 147 of Plaintiffs’ Complaint states:

  In statewide and federal elections conducted in the State of Georgia,
  including without limitation the November 3, 2020, General Election, all
  candidates, political parties, and voters, including without limitation
  Plaintiffs, have a vested interest in being present and having meaningful
  access to observe and monitor the electoral process in each County to ensure
  that it is properly administered in every election district and otherwise free,
  fair, and transparent.

  Answer: Denied.

148.    Paragraph 148 of Plaintiffs’ Complaint states:

  Moreover, through its provisions involving watchers and representatives, the
  Georgia Election Code ensures that all candidates and political parties in
  each County, including the Trump Campaign, have meaningful access to
  observe and monitor the electoral process to ensure that it is properly
  administered in every election district and otherwise free, fair, and
  transparent. See, e.g. In plain terms, the statute clearly prohibits opening
  absentee ballots prior to election day, while the rule authorizes doing so
  three weeks before election day. There is no reconciling this conflict. The
  State Election Board has authority under O.C.G.A. § 21-2-31 to adopt lawful
  and legal rules and regulations, but no authority to promulgate a regulation
  that is directly contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is
  therefore plainly and indisputably unlawful. Plaintiffs also bring this action
  under Georgia law, O.C.G.A. § 21-2-522, Grounds for Contest:


                                     78
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 81 of 112




  Answer: The Democratic Political Party Committees admit that Plaintiffs

  assert claims under O.C.G.A. § 21-2-522. The Democratic Political Party

  Committees deny that Plaintiffs have established cognizable claims under this

  provision.   The    remaining    allegations    of   Paragraph    148    contain

  characterizations, legal contentions, conclusions, and opinions to which no

  response is required. To the extent the characterization of the law is inaccurate

  or intended to apply to the claims here or a response is required, the

  Democratic Political Party Committees deny the same.

149.    Paragraph 149 of Plaintiffs’ Complaint states:

  A result of a primary or election may be contested on one or more of the
  following grounds:

  Answer: The Democratic Political Party Committees admit that the Plaintiffs’

  quoted language is from O.C.G.A. § 21-2-522. To the extent Plaintiffs’

  characterization of the statute is inaccurate or intended to apply to the claims

  here, the Democratic Political Party Committees deny the same.

150.    Paragraph 150 of Plaintiffs’ Complaint states:

  (1) Misconduct, fraud, or irregularity by any primary or election official or
  officials sufficient to change or place in doubt the result;

  (2) When the defendant is ineligible for the nomination or office in
  dispute;


                                     79
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 82 of 112




  (3) When illegal votes have been received or legal votes rejected at the
  polls sufficient to change or place in doubt the result;

  (4) For any error in counting the votes or declaring the result of the primary
  or election, if such error would change the result; or

  (5) For any other cause which shows that another was the person legally
  nominated, elected, or eligible to compete in a run-off primary or election.
  O.C.G.A. § 21-2-522.

  Answer: The Democratic Political Party Committees admit that the Plaintiffs’

  quoted language is from O.C.G.A. § 21-2-522. To the extent Plaintiffs’

  characterization of the statute is inaccurate or intended to apply to the claims

  here, the Democratic Political Party Committees deny the same.

151.    Paragraph 151 of Plaintiffs’ Complaint states:

  Several affiants testified to the improper procedures with absentee ballots
  processing, with the lack of auditable procedures with the logs in the
  computer systems, which violates Georgia law, and federal election law.
  See also, 50 U.S.C. § 20701 requires the retention and preservation of
  records and papers by officers of elections under penalty of fine and
  imprisonment.

  Answer: The Democratic Political Party Committees deny the first sentence

  of Paragraph 151. The remaining allegations of Paragraph 151 contain

  characterizations, legal contentions, conclusions, and opinions to which no

  response is required. To the extent a response is required, the Democratic

  Political Party Committees deny the same.

152.    Paragraph 152 of Plaintiffs’ Complaint states:
                                    80
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 83 of 112




  The State Election Board re-adopted Rule 183-1-14-0.9-.15 on November
  23, 2020 for the upcoming January 2021 runoff election.

  Answer: Admitted.

153.    Paragraph 153 of Plaintiffs’ Complaint states:

  A large number of ballots were identical and likely fraudulent. An Affiant
  explains that she observed a batch of utterly pristine ballots:

  14. Most of the ballots had already been handled; they had been written
  on by people, and the edges were worn. They showed obvious use.
  However, one batch stood out. It was pristine. There was a difference in the
  texture of the paper - it was if they were intended for absentee use but had
  not been used for that purposes. There was a difference in the feel.

  15. These different ballots included a slight depressed pre-fold so they
  could be easily folded and unfolded for use in the scanning machines. There
  were no markings on the ballots to show where they had com~ from, or
  where they had been processed. These stood out.

  16. In my 20 years of experience of handling ballots, I observed that the
  markings for the candidates on these ballots were unusually uniform,
  perhaps even with a ballot-marking device. By my estimate in observing
  these ballots, approximately 98% constituted votes for Joe Biden. I only
  observed two of these ballots as votes for President Donald J. Trump.” (See
  Exh. 15).

  Answer: The Democratic Political Party Committees deny that a large

  number of ballots were identical and likely fraudulent. The Democratic

  Political Party Committees admit that the quoted language is from Exhibit 15

  to Plaintiffs’ Complaint and deny each other or different allegation in

  Paragraph 153.

                                    81
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 84 of 112




154.      Paragraph 154 of Plaintiffs’ Complaint states:

  The same Affiant further testified specifically to the breach of the chain of
  custody of the voting machines the night before the election stating:

  we typically receive the machines, the ballot marking devices – on the
  Friday before the election, with a chain of custody letter to be signed on
  Sunday, indicating that we had received the machines and the counts on the
  machines when received, and that the machines have been sealed. In this
  case, we were asked to sign the chain of custody letter on Sunday, even
  though the machines were not delivered until 2:00 AM in the morning
  on Election Day. The Milton precinct received its machines at 1:00 AM in
  the morning on Election Day. This is unacceptable and voting machines
  should [not] be out of custody prior to an Election Day. Id.

  Answer: The Democratic Political Party Committees lack knowledge and

  information sufficient to form a belief about the truth of the substance of the

  quoted language or any other or different allegation in Paragraph 154 and, on

  that basis, deny the same.

155.      Paragraph 155 of Plaintiffs’ Complaint states:

  Defendants have a duty to treat the voting citizens in each County in the
  same manner as the citizens in other counties in Georgia.

  Answer: Paragraph 155 contains characterizations, legal contentions,

  conclusions, and opinions to which no response is required. To the extent the

  characterization of the law is inaccurate or intended to apply to the claims here

  or a response is required, the Democratic Political Party Committees deny the

  same.

                                     82
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 85 of 112




156.    Paragraph 156 of Plaintiffs’ Complaint states:

  As set forth in Count I above, Defendants failed to comply with the
  requirements of the Georgia Election Code and thereby diluted the lawful
  ballots of the Plaintiffs and of other Georgia voters and electors in violation
  of the United States Constitution guarantee of Equal Protection.

  Answer: Denied.

157.    Paragraph 157 of Plaintiffs’ Complaint states:

  Specifically, Defendants denied the plaintiffs equal protection of the law and
  their equal rights to meaningful access to observe and monitor the electoral
  process enjoyed by citizens in other Georgia Counties by:

  (a) mandating that representatives at the pre-canvass and canvass of all
  absentee and mail-ballots be either Georgia barred attorneys or qualified
  registered electors of the county in which they sought to observe and
  monitor;

  (b) not allowing watchers and representatives to visibly see and review all
  envelopes containing official absentee and mail-in ballots either at or before
  they were opened and/or when such ballots were counted and recorded; and

  (c) allowing the use of Dominion Democracy Suite software and devices,
  which failed to meet the Dominion Certification Report’s conditions for
  certification.

  Answer: Denied.

158.    Paragraph 158 of Plaintiffs’ Complaint states:

  Instead, Defendants refused to credential all of the Trump Republican’s
  submitted watchers and representatives and/or kept Trump Campaign’s
  watchers and representatives by security and metal barricades from the areas
  where the inspection, opening, and counting of absentee and mail-in ballots
  were taking place. Consequently, Defendants created a system whereby it

                                     83
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 86 of 112




  was physically impossible for the candidates and political parties to view the
  ballots and verify that illegally cast ballots were not opened and counted

  Answer: Denied.

159.    Paragraph 159 of Plaintiffs’ Complaint states:

  Many Affiants testified to switching absentee ballots or mail-in ballots for
  Trump to Biden, including a Democrat. He testified in his sworn affidavit,
  that before he was forced to move back to where he could not see, he had in
  fact seen, “absentee ballots for Trump inserted into Biden’s stack, and
  counted as Biden votes. This occurred a few times”. (See Exh. 18, Par. 12).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Exhibit 18 to the Plaintiffs’ Complaint. The Democratic

  Political Party Committees deny each other or different allegation in

  Paragraph 159.

160.    Paragraph 160 of Plaintiffs’ Complaint states:

  Other Georgia county boards of elections provided watchers and
  representatives of candidates and political parties, including without
  limitation watchers and representatives of the Republicans and the Trump
  Campaign, with appropriate access to view the absentee and mail-in ballots
  being pre-canvassed and canvassed by those county election boards and
  without restricting representatives by any county residency or Georgia bar
  licensure requirements.

  Answer: The Democratic Political Party Committees lack knowledge and

  information sufficient to form a belief as to the truth of the allegations in

  Paragraph 160 and, on that basis, deny the same.


                                    84
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 87 of 112




161.    Paragraph 161 of Plaintiffs’ Complaint states:

  Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs
  access to and/or obstructed actual observation and monitoring of the
  absentee and mail-in ballots being pre-canvassed and canvassed by
  Defendants, depriving them of the equal protection of those state laws
  enjoyed by citizens in other Counties.

  Answer: Denied.

162.    Paragraph 162 of Plaintiffs’ Complaint states:

  Defendants have acted and will continue to act under color of state law to
  violate Plaintiffs’ right to be present and have actual observation and access
  to the electoral process as secured by the Equal Protection Clause of the
  United States Constitution.

  Answer: Denied.

163.    Paragraph 163 of Plaintiffs’ Complaint states:

  Defendants further violated Georgia voters’ rights to equal protection insofar
  as Defendants allowed the Georgia counties to process and count ballots in a
  manner that allowed ineligible ballots to be counted, and through the use of
  Dominion Democracy Suite, allowed eligible ballots for Trump and
  McCormick to be switched to Biden or lost altogether. Defendants thus
  failed to conduct the general election in a uniform manner as required by the
  Equal Protection Clause of the Fourteenth Amendment and the Georgia
  Election Code.

  Answer: Denied.

164.    Paragraph 164 of Plaintiffs’ Complaint states:

  Plaintiffs seek declaratory and injunctive relief holding that the election,
  under these circumstances, was improperly certified and that the Governor
  be enjoined from transmitting Georgia’s certified Presidential election
                                     85
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 88 of 112




  results to the Electoral College. Georgia law forbids certifying a tally that
  includes any ballots that were not legally cast, or that were switched from
  Trump to Biden, through the unlawful use of Dominion Democracy Suite
  software and devices.

  Answer: The Democratic Political Party Committees admit that Plaintiffs

  seek the declaratory and injunctive relief described in Paragraph 164 and deny

  that Plaintiffs have established cognizable claims entitling them to such relief.

  The remaining allegations in Paragraph 164 contain characterizations, legal

  contentions, conclusions, and opinions to which no response is required. To

  the extent the characterization of the law is inaccurate or intended to apply to

  the claims here or a response is required, the Democratic Political Party

  Committees deny the same.

165.    Paragraph 165 of Plaintiffs’ Complaint states:

  Alternatively, Plaintiffs seek declaratory and injunctive relief holding that
  the election, under these circumstances, was improperly certified and that
  the Governor be required to recertify the results declaring that Donald
  Trump has won the election and transmitting Georgia’s certified Presidential
  election result in favor of President Trump.

  Answer: The Democratic Political Party Committees admit that Plaintiffs

  seek the declaratory and injunctive relief described in Paragraph 165 and deny

  that Plaintiffs have established cognizable claims entitling them to such relief.

166.    Paragraph 166 of Plaintiffs’ Complaint states:


                                     86
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 89 of 112




  Plaintiffs have no adequate remedy at law and will suffer serious and
  irreparable harm unless the declaratory and injunctive relief requested herein
  is granted. Indeed, the setting aside of an election in which the people have
  chosen their representative is a drastic remedy that should not be undertaken
  lightly, but instead should be reserved for cases in which a person
  challenging an election has clearly established a violation of election
  procedures and has demonstrated that the violation has placed the result of
  the election in doubt. Georgia law allows elections to be contested through
  litigation, both as a check on the integrity of the election process and as a
  means of ensuring the fundamental right of citizens to vote and to have their
  votes counted accurately. O.C.G.A. § 21-2-520 et seq.

  Answer: Denied.

167.    Paragraph 167 of Plaintiffs’ Complaint states:

  In addition to the alternative requests for relief in the preceding paragraphs,
  hereby restated, Plaintiffs seek a permanent injunction requiring the County
  Election Boards to invalidate ballots cast by: 1) voters whose signatures on
  their registrations have not been matched with ballot, envelope and voter
  registration check; 2) all “dead votes”; and 4) all 900 military ballots in
  Fulton county that supposedly were 100% for Joe Biden.

  Answer: The Democratic Political Party Committees admit that Plaintiffs

  seek the injunctive relief described in Paragraph 167 and deny that Plaintiffs

  have established cognizable claims entitling them to such relief.




                                     87
    Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 90 of 112




                                 COUNT III

 FOURTEENTH AMENDMENT EQUAL PROTECTION CLAUSE U.S.
           CONST. AMEND. XIV, 42 U.S.C. § 1983

                       DENIAL OF DUE PROCESS

DISPARATE TREATMENT OF ABSENTEE/MAIL-IN VOTERS AMONG
                DIFFERENT COUNTIES

 168.    Paragraph 168 of Plaintiffs’ Complaint states:

   Plaintiffs incorporate each of the prior allegations in this Complaint.

   Voting is a fundamental right protected by the Fourteenth Amendment to the
   United States Constitution. The Fourteenth Amendment protects the right to
   vote from conduct by state officials which seriously undermines the
   fundamental fairness of the electoral process. Marks v. Stinson, 19 F.3d 873,
   889 (3d Cir. 1994); Griffin, 570 F.2d at 1077-78. “[H]aving once granted the
   right to vote on equal terms, the State may not, by later arbitrary and
   disparate treatment, value one person’s vote over that of another.” Bush, 531
   U.S. at 104-05.

   Answer: The Democratic Political Party Committees incorporate the

   responses to the foregoing paragraphs as if fully set forth herein. The

   Democratic Political Party Committees admit that voting is a fundamental

   right protected by the Fourteenth Amendment to the United States

   Constitution, including from conduct by state officials which seriously

   undermines the fundamental fairness of the electoral process. The Democratic

   Political Party Committees further admit that the quoted language is from


                                      88
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 91 of 112




  Bush. To the extent Plaintiffs’ characterization and interpretation of the cited

  law differs from the text of the cited provision and case, the Democratic

  Political Party Committees deny the allegations.

169.    Paragraph 169 of Plaintiffs’ Complaint states:

  Defendants are not part of the General Assembly and cannot exercise
  legislative power. Rather, Defendants’ power is limited to executing the
  laws as passed by the legislature. Although the Georgia General Assembly
  may enact laws governing the conduct of elections, “no legislative
  enactment may contravene the requirements of the Georgia or United States
  Constitutions.” Shankey, 257 A. 2d at 898.

  Answer: The Democratic Political Party Committees admit that the

  Defendants are not part of the General Assembly. The Democratic Political

  Party Committees further admit that the quoted language is from Shankey. To

  the extent Plaintiffs’ characterization and interpretation of the cited law differs

  from the text of Shankey, the Democratic Political Party Committees deny the

  allegations. The remainder of the allegations in Paragraph 169 contain

  characterizations, legal contentions, conclusions, and opinions to which no

  response is required. To the extent the characterization of the law is inaccurate

  or intended to apply to the claims here or a response is required, the

  Democratic Political Party Committees deny the same.

170.    Paragraph 170 of Plaintiffs’ Complaint states:


                                      89
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 92 of 112




  Federal courts “possess broad discretion to fashion an equitable remedy.”
  Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Engineers, 781 F.3d
  1271, 1290 (11th Cir. 2015); Castle v. Sangamo Weston, Inc., 837 F.2d
  1550, 1563 (11th Cir. 1988) (“The decision whether to grant equitable relief,
  and, if granted, what form it shall take, lies in the discretion of the district
  court.”).

  Answer: Admitted.

171.    Paragraph 171 of Plaintiffs’ Complaint states:

  Moreover, “[t]o the extent that a voter is at risk for having his or her ballot
  rejected due to minor errors made in contravention of those requirements, …
  the decision to provide a ‘notice and opportunity to cure’ procedure to
  alleviate that risk is one best suited for the Legislature[,] . . . particularly in
  light of the open policy questions attendant to that decision, including what
  the precise contours of the procedure would be, how the concomitant
  burdens would be addressed, and how the procedure would impact the
  confidentiality and counting of ballots, all of which are best left to the
  legislative branch of Georgia's government.” Id.

  Answer: The Democratic Political Party Committees deny that the quoted

  language is from any of the cases cited in Paragraph 170 or from a case

  involving Georgia law or elections and further deny that the quoted language

  is accurate. The Democratic Political Party Committees affirmatively state

  that the quoted language is from Pennsylvania Democratic Party v. Boockvar,

  238 A.3d 345, 374 (Pa. 2020), which involves “Pennsylvania’s government,”

  not, as Plaintiffs allege and misquote, Georgia’s government. To the extent

  Plaintiffs’ characterization and interpretation of the cited law differs from the

                                      90
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 93 of 112




  text of Boockvar, the Democratic Political Party Committees deny the

  allegations.

172.    Paragraph 172 of Plaintiffs’ Complaint states:

  The disparate treatment of Georgia voters, in subjecting one class of voters
  to greater burdens or scrutiny than another, violates Equal Protection
  guarantees because “the right of suffrage can be denied by a debasement or
  dilution of the weight of a citizen’s vote just as effectively as by wholly
  prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at 555.
  Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman
  v. Brown Grp., Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at
  *4 (Mo. Ct. App. 1982); Prince v. Bear River Mut. Ins. Co., 2002 UT 68, ¶
  41, 56 P.3d 524, 536-37 (Utah 2002).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Reynolds. To the extent Plaintiffs’ characterization and

  interpretation of the cited law differs from the text of the cited cases, the

  Democratic Political Party Committees deny the allegations.

173.    Paragraph 173 of Plaintiffs’ Complaint states:

  Defendants are not the legislature, and their unilateral decision to create and
  implement a cure procedure for some but not all absentee and mail-in voters
  in this State violates the Due Process Clause of the United States
  Constitution. Plaintiffs have no adequate remedy at law and will suffer
  serious and irreparable harm unless the injunctive relief requested herein is
  granted.




                                     91
    Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 94 of 112




    Answer: The Democratic Political Party Committees admit that the

    Defendants are not the legislature. The Democratic Political Party

    Committees deny each other or different allegation in Paragraph 173.

                                  COUNT IV

FOURTEENTH AMENDMENT, U.S. CONST. ART. I § 4, CL. 1; ART. II §
           1, CL. 2; AMEND. XIV, 42 U.S.C. § 1983

        DENIAL OF DUE PROCESS ON THE RIGHT TO VOTE

 174.     Paragraph 174 of Plaintiffs’ Complaint states:

    Plaintiffs refer to and incorporate by reference each of the prior paragraphs
    of this Complaint as though the same were repeated at length herein.

    Answer: The Democratic Political Party Committees incorporate the

    responses to the foregoing paragraphs as if fully set forth herein.

 175.     Paragraph 175 of Plaintiffs’ Complaint states:

    The right of qualified citizens to vote in a state election involving federal
    candidates is recognized as a fundamental right under the Fourteenth
    Amendment of the United States Constitution. Harper, 383 U.S. at See also
    Reynolds, 377 U.S. at 554 (The Fourteenth Amendment protects the “the
    right of all qualified citizens to vote, in state as well as in federal
    elections.”). Indeed, ever since the Slaughter-House Cases, 83 U.S. 36
    (1873), the United States Supreme Court has held that the Privileges or
    Immunities Clause of the Fourteenth Amendment protects certain rights of
    federal citizenship from state interference, including the right of citizens to
    directly elect members of Congress. See Twining v. New Jersey, 211 U.S.
    78, 97 (1908) (citing Ex parte Yarbrough, 110 U.S. 651, 663-64 (1884)).
    See also Oregon v. Mitchell, 400 U.S. 112, 148-49 (1970) (Douglas, J.,
    concurring) (collecting cases).
                                       92
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 95 of 112




  Answer: Admitted.

176.    Paragraph 176 of Plaintiffs’ Complaint states:

  The fundamental right to vote protected by the Fourteenth Amendment is
  cherished in our nation because it “is preservative of other basic civil and
  political rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a
  ballot in an election free from the taint of intimidation and fraud,” Burson v.
  Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our
  electoral processes is essential to the functioning of our participatory
  democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Reynolds, Burson, and Purcell. To the extent Plaintiffs’

  characterization and interpretation of the cited law differs from the text of the

  cited cases, the Democratic Political Party Committees deny the allegations.

177.    Paragraph 177 of Plaintiffs’ Complaint states:

  “Obviously included within the right to [vote], secured by the Constitution,
  is the right of qualified voters within a state to cast their ballots and have
  them counted” if they are validly cast. United States v. Classic, 313 U.S.
  299, 315 (1941). “[T]he right to have the vote counted” means counted “at
  full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29
  (quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J.,
  dissenting)).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Classic and Reynolds. To the extent Plaintiffs’

  characterization and interpretation of the cited law differs from the text of the

  cited cases, the Democratic Political Party Committees deny the allegations.
                                     93
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 96 of 112




178.    Paragraph 178 of Plaintiffs’ Complaint states:

  “Every voter in a federal . . . election, whether he votes for a candidate with
  little chance of winning or for one with little chance of losing, has a right
  under the Constitution to have his vote fairly counted, without its being
  distorted by fraudulently cast votes.” Anderson v. United States, 417 U.S.
  211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid
  or fraudulent votes “debase[]” and “dilute” the weight of each validly cast
  vote. See Anderson, 417 U.S. at 227.

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Anderson. To the extent Plaintiffs’ characterization and

  interpretation of the cited law differs from the text of the cited cases, the

  Democratic Political Party Committees deny the allegations.

179.    Paragraph 179 of Plaintiffs’ Complaint states:

  The right to an honest [count] is a right possessed by each voting elector,
  and to the extent that the importance of his vote is nullified, wholly or in
  part, he has been injured in the free exercise of a right or privilege secured to
  him by the laws and Constitution of the United States.” Anderson, 417 U.S.
  at 226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th Cir.), aff'd
  due to absence of quorum, 339 U.S. 974 (1950)).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Anderson. To the extent Plaintiffs’ characterization and

  interpretation of the cited law differs from the text of the cited cases, the

  Democratic Political Party Committees deny the allegations.

180.    Paragraph 180 of Plaintiffs’ Complaint states:


                                     94
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 97 of 112




  Practices that promote the casting of illegal or unreliable ballots or fail to
  contain basic minimum guarantees against such conduct, can violate the
  Fourteenth Amendment by leading to the dilution of validly cast ballots. See
  Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a
  debasement or dilution of the weight of a citizen’s vote just as effectively as
  by wholly prohibiting the free exercise of the franchise.”).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Reynolds. To the extent Plaintiffs’ characterization and

  interpretation of the cited law differs from the text of the cited case, the

  Democratic Political Party Committees deny the allegations.

181.    Paragraph 181 of Plaintiffs’ Complaint states:

  In Georgia, the signature verification requirement is a dead letter. The
  signature rejection rate for the most recent election announced by the
  Secretary of State was 0.15%. The signature rejection rate for absentee ballot
  applications was .00167% - only 30 statewide. Hancock County, Georgia,
  population 8,348, rejected nine absentee ballot applications for signature
  mismatch. Fulton County rejected eight. No other metropolitan county in
  Georgia rejected even a single absentee ballot application for signature
  mismatch. The state of Colorado, which has run voting by mail for a number
  of years, has a signature rejection rate of between .52% and .66%.35 The
  State of Oregon had a rejection rate of 0.86% in 2016.36 The State of
  Washington has a rejection rate of between 1% and 2%.37If Georgia
  rejected absentee ballots at a rate of .52% instead of the actual .15%,
  approximately 4,600 more absentee ballots would have been rejected.

  Answer: The Democratic Political Party Committees deny that Georgia’s

  signature verification requirement is a “dead letter.” The Democratic Political

  Party Committees lack knowledge and information sufficient to form a belief

                                     95
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 98 of 112




  as to the truth of the remaining allegations in Paragraph 181 and, on that basis,

  deny the same.

                                 COUNT V
            THERE WAS WIDE-SPREAD BALLOT FRAUD.
                           O.C.G.A. § 21-2-522
182.    Paragraph 182 of Plaintiffs’ Complaint states:

  Plaintiffs refer to and incorporate by reference each of the prior paragraphs
  of this Complaint as though the same were repeated at length herein.

  Answer: Plaintiffs refer to and incorporate by reference each of the prior

  paragraphs of this Complaint as though the same were repeated at length

  herein.

183.    Paragraph 183 of Plaintiffs’ Complaint states:

  Plaintiffs contest the results of Georgia’s election, with Standing conferred
  under pursuant to O.G.C.A. 21-2-521.

  Answer: The Democratic Political Party Committees admit that Plaintiffs

  contest the results of Georgia’s election and deny that Plaintiffs have

  established a valid basis for doing so. The Democratic Political Party

  Committees further deny that Plaintiffs have standing.

184.    Paragraph 184 of Plaintiffs’ Complaint states:

  Therefore, pursuant to O.G.C.A. 21-2-522, for misconduct, fraud, or
  irregularity by any primary or election official or officials sufficient to
  change or place in doubt the result. The foundational principle that Georgia
                                     96
   Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 99 of 112




  law “nonetheless allows elections to be contested through litigation, both as
  a check on the integrity of the election process and as a means of ensuring
  the fundamental right of citizens to vote and to have their votes counted
  accurately.” Martin v. Fulton County Bd. of Registration & Elections, 307
  Ga. 193, 194, 835 S.E.2d 245, 248 (2019). The Georgia Supreme Court has
  made clear that Plaintiffs need not show how the [] voters would have voted
  if their [absentee] ballots had been regular. [] only had to show that there
  were enough irregular ballots to place in doubt the result.” See OCGA § 21-
  2-520 et seq., Mead v. Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102
  (1994) the Supreme Court invalidated an election, and ordered a new
  election because it found that,

  Thus, [i]t was not incumbent upon [the Plaintiff] to show how the [481]
  voters would have voted if their [absentee] ballots had been regular. He only
  had to show that there were enough irregular ballots to place in doubt the
  result. He succeeded in that task.

   Id. at 271 (citing Howell v. Fears, 275 Ga. 627, 571 SE2d 392, (2002)
  (primary results invalid where ballot in one precinct omitted names of both
  qualified candidates).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Martin and Mead. To the extent that Plaintiffs’

  characterization and interpretation of the law differs from the text of the cited

  cases, the Democratic Political Party Committees deny the allegations.

185.    Paragraph 185 of Plaintiffs’ Complaint states:

  The "glitches" in the Dominion system—that seem to have the uniform
  effect of hurting Trump and helping Biden have been widely reported in the
  press and confirmed by the analysis of independent experts.

  Answer: Denied.

                                     97
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 100 of 112




186.    Paragraph 186 of Plaintiffs’ Complaint states:

  Prima facie evidence in multiple affidavits shows specific fraudulent acts,
  which directly resulted in the flipping of the race at issue:

  a)    votes being switched in Biden’s favor away from Trump during the
  recount;

  b)    the lack of procedures in place to follow the election code, and the
  purchase and use, Dominion Voting System despite evidence of serious
  vulnerabilities;

  c)     a demonstration that misrepresentations were made about a pipe burst
  that sent everyone home, while first six, then three, unknown individuals
  were left alone until the morning hours working on the machines;

  d) further a failure to demonstrate compliance with the Georgia’s Election
  Codes, in maintaining logs on the Voting system for a genuine and sound
  audit, other than voluntary editable logs that prevent genuine audits. While
  the bedrock of this Democratic Republic rests on citizens’ confidence in the
  validity of our elections and a transparent process, Georgia’s November 3,
  2020 General Election remains under a pall of corruption and irregularity
  that reflects a pattern of the absence of mistake. At best, the evidence so far
  shows ignorance of the truth; at worst, it proves a knowing intent to defraud.

  Answer: Denied.

187.    Paragraph 187 of Plaintiffs’ Complaint states:

  Plaintiffs’ expert also finds that voters received tens of thousands of ballots
  that they never requested. (See Exh. 1, Dr. Briggs’ Report). Specifically,
  Dr. Briggs found that in the state of Georgia, based on a statistically
  significant sample, the expected amount of persons that received an
  absentee ballot that they did not request ranges from 16,938 to 22,771.
  This range exceeds the margin of loss of President Trump by 12,670 votes
  by at least 4,268 unlawful requests and by as many as 10,101 unlawful
  requests.
                                     98
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 101 of 112




  Answer: The Democratic Political Party Committees admit that the data in

  Paragraph 139 is from Exhibit 1 to Plaintiffs’ Complaint. Plaintiffs lack

  information or knowledge sufficient to form a belief as to the truth of each

  other or different allegation in Paragraph 139 and, on that basis, deny the

  same.

188.      Paragraph 188 of Plaintiffs’ Complaint states:

  This widespread pattern, as reflected within the population of unreturned
  ballots analyzed by Dr. Briggs, reveals the unavoidable reality that, in
  addition to the calculations herein, third parties voted an untold number of
  unlawfully acquired absentee or mail-in ballots, which would not be in the
  database of unreturned ballots analyzed here. See O.G.C.A. 21-2-522.
  These unlawfully voted ballots prohibited properly registered persons from
  voting and reveal a pattern of widespread fraud.

  Answer: Denied.

189.      Paragraph 189 of Plaintiffs’ Complaint states:

  Further, there exists clear evidence of 20,311 absentee or early voters in
  Georgia that voted while registered as having moved out of state.
  Specifically, these persons were showing on the National Change of Address
  Database (NCOA) as having moved, or as having filed subsequent voter
  registration in another state also as evidence that they moved and even
  potentially voted in another state. The 20,311 votes by persons documented
  as having moved exceeds the margin by which Donald Trump lost the
  election by 7,641 votes.

  Answer: Denied.

190.      Paragraph 190 of Plaintiffs’ Complaint states:

                                     99
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 102 of 112




  Plaintiffs’ expert Russell Ramsland concludes that at least 96,600 mail-in
  ballots were fraudulently cast. He further concludes that up to 136,098
  ballots were illegally counted as a result of improper manipulation of the
  Dominion software. (Ramsland Aff).

  Answer: The Democratic Political Party Committees admit that the data in

  Paragraph 190 is from Exhibit 9 to Plaintiffs’ Complaint. The Democratic

  Political Party Committees deny the truth of that data and the substance of the

  allegations in Paragraph 190.

191.    Paragraph 191 of Plaintiffs’ Complaint states:

  The very existence of absentee mail in ballots created a heightened
  opportunity for fraud. The population of unreturned ballots analyzed by
  William Briggs, PhD, reveals the probability that a far greater number of
  mail ballots were requested by 3rd parties or sent erroneously to persons and
  voted fraudulently, undetected by a failed system of signature verification.
  The recipients may have voted in the name of another person, may have not
  had the legal right to vote and voted anyway, or may have not received the
  ballot at the proper address and then found that they were unable to vote at
  the polls, except provisionally, due to a ballot outstanding in their name.

  Answer: Denied.

192.    Paragraph 192 of Plaintiffs’ Complaint states:

  When we consider the harm of these uncounted votes, and ballots not
  ordered by the voters themselves, and the potential that many of these
  unordered ballots may in fact have been improperly voted and also
  prevented proper voting at the polls, the mail ballot system has clearly failed
  in the state of Georgia and did so on a large scale and widespread basis. The
  size of the voting failures, whether accidental or intentional, are multiples
  larger than the margin of votes between the presidential candidates in the

                                    100
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 103 of 112




  state. For these reasons, Georgia cannot reasonably rely on the results of the
  mail vote.

  Answer: Denied.

193.     Paragraph 193 of Plaintiffs’ Complaint states:

  The right to vote includes not just the right to cast a ballot, but also the right
  to have it fairly counted if it is legally cast. The right to vote is infringed if a
  vote is cancelled or diluted by a fraudulent or illegal vote, including without
  limitation when a single person votes multiple times. The Supreme Court of
  the United States has made this clear in case after case. See, e.g., Gray v.
  Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the
  diluting effect of illegal ballots.”); Crawford v. Marion Cnty. Election Bd.,
  553 U.S. 181, 196 (2008) (plurality op. of Stevens, J.) (“There is no question
  about the legitimacy or importance of the State’s interest in counting only
  the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-
  55 & n.29 (1964).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Gray and Crawford. To the extent that Plaintiffs’

  characterization and interpretation of the law differs from the text of the cited

  cases or Plaintiffs allege that this law applies here, the Democratic Political

  Party Committees deny the allegations.

194.     Paragraph 194 of Plaintiffs’ Complaint states:

  Plaintiffs have no adequate remedy at law. As seen from the expert analysis
  of William Higgs, PhD, based on actual voter data, tens of thousands of
  votes did not count, and tens of thousands of votes were unlawfully
  requested.

  Answer: Denied.
                                      101
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 104 of 112




195.    Paragraph 195 of Plaintiffs’ Complaint states:

  The Fourteenth Amendment Due Process Clause protects the right to vote
  from conduct by state officials which seriously undermines the fundamental
  fairness of the electoral process. Marks v. Stinson, 19 F.3d 873, 889 (3d Cir.
  1994); Griffin v. Burns, 570 F.2d 1065, 1077-78 (1st Cir. 1978).

  Answer: Admitted.

196.    Paragraph 196 of Plaintiffs’ Complaint states:

  Separate from the Equal Protection Clause, the Fourteenth Amendment’s
  due process clause protects the fundamental right to vote against “the
  disenfranchisement of a state electorate.” Duncan v. Poythress, 657 F.2d
  691, 702 (5th Cir. 1981). “When an election process ‘reaches the point of
  patent and fundamental unfairness,’ there is a due process violation.”
  Florida State Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153,
  1183-84 (11th Cir. 2008) (quoting Roe v. Alabama, 43 F.3d 574, 580 (11th
  Cir.1995) (citing Curry v. Baker, 802 F.2d 1302, 1315 (11th Cir.1986))).
  See also Griffin, 570 F.2d at 1077 (“If the election process itself reaches the
  point of patent and fundamental unfairness, a violation of the due process
  clause may be indicated and relief under § 1983 therefore in order.”); Marks
  v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994) (enjoining winning state senate
  candidate from exercising official authority where absentee ballots were
  obtained and cast illegally).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Duncan, Florida State Conference of N.A.A.C.P., Griffin,

  and Marks. To the extent that Plaintiffs’ characterization and interpretation of

  the law differs from the text of the cited cases, the Democratic Political Party

  Committees deny the allegations.


                                     102
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 105 of 112




197.    Paragraph 197 of Plaintiffs’ Complaint states:

  Part of courts’ justification for such a ruling is the Supreme Court’s
  recognition that the right to vote and to free and fair elections is one that is
  preservative of other basic civil and political rights. See Black, 209
  F.Supp.2d at 900 (quoting Reynolds, 377 U.S. at 561-62 (“since the right to
  exercise the franchise in a free and unimpaired manner is preservative of
  other basic civil and political rights, any alleged infringement of the right of
  citizens to vote must be carefully and meticulously scrutinized.”)); see also
  Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886) (“the political franchise of
  voting … is regarded as a fundamental political right, because [sic]
  preservative of all rights.”).

  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Reynolds and Yick Wo. To the extent that Plaintiffs’

  characterization and interpretation of the law differs from the text of the cited

  cases, the Democratic Political Party Committees deny the allegations.

198.    Paragraph 198 of Plaintiffs’ Complaint states:

  “[T]he right to vote, the right to have one’s vote counted, and the right to
  have ones vote given equal weight are basic and fundamental constitutional
  rights incorporated in the due process clause of the Fourteenth Amendment
  to the Constitution of the United States.” Black, 209 F. Supp. 2d at 900 (a
  state law that allows local election officials to impose different voting
  schemes upon some portions of the electorate and not others violates due
  process). “Just as the equal protection clause of the Fourteenth
  Amendment prohibits state officials from improperly diluting the right to
  vote, the due process clause of the Fourteenth amendment forbids state
  officials from unlawfully eliminating that fundamental right.” Duncan, 657
  F.2d at 704. “Having once granted the right to vote on equal
  terms,[Defendants] may not, by later arbitrary and disparate treatment, value
  one person's vote over that of another.” Bush, 531 U.S. at 104-05.

                                     103
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 106 of 112




  Answer: The Democratic Political Party Committees admit that the quoted

  language is from Black, Duncan, and Bush. To the extent that Plaintiffs’

  characterization and interpretation of the law differs from the text of the cited

  cases, the Democratic Political Party Committees deny the allegations.

199.    Paragraph 199 of Plaintiffs’ Complaint states:

  In statewide and federal elections conducted in the State of Georgia,
  including without limitation the November 3, 2020 General Election, all
  candidates, political parties, and voters, including without limitation
  Plaintiffs, have a vested interest in being present and having meaningful
  access to observe and monitor the electoral process to ensure that it is
  properly administered in every election district and otherwise free, fair, and
  transparent.

  Answer: Denied.

200.    Paragraph 200 of Plaintiffs’ Complaint states:

  Moreover, through its provisions involving watchers and representatives, the
  Georgia Election Code ensures that all candidates and political parties,
  including without limitation Plaintiff, Republicans, and the Trump
  Campaign, shall be “present” and have meaningful access to observe and
  monitor the electoral process to ensure that it is properly administered in
  every election district and otherwise free, fair, and transparent.

  Answer: The allegations of Paragraph 200 contain characterizations, legal

  contentions, conclusions, and opinions to which no response is required. To

  the extent the characterization of the law is inaccurate or intended to apply to




                                     104
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 107 of 112




  the claims here or a response is required, the Democratic Political Party

  Committees deny the same.

201.    Paragraph 201 of Plaintiffs’ Complaint states:

  Defendants have a duty to guard against deprivation of the right to vote
  through the dilution of validly cast ballots by ballot fraud or election
  tampering. Rather than heeding these mandates and duties, Defendants
  arbitrarily and capriciously denied the Trump Campaign and Republicans
  meaningful access to observe and monitor the electoral process by: (a)
  mandating that representatives at the pre- canvass and canvass of all
  absentee and mail-ballots be either Georgia barred attorneys or qualified
  registered electors of the county in which they sought to observe and
  monitor; and (b) not allowing watchers and representatives to visibly see and
  review all envelopes containing official absentee and mail-in ballots either at
  the time or before they were opened and/or when such ballots were counted
  and recorded. Instead, Defendants refused to credential all of the Trump
  Campaign’s submitted watchers and representatives and/or kept Trump
  Campaign’s watchers and representatives by security and metal barricades
  from the areas where the inspection, opening, and counting of absentee and
  mail-in ballots were taking place. The lack of meaningful access with actual
  access to see the ballots invited further fraud and cast doubt of the validity of
  the proceedings.

  Answer: Denied.

202.    Paragraph 202 of Plaintiffs’ Complaint states:

  Consequently, Defendants created a system whereby it was physically
  impossible for the candidates and political parties to view the ballots and
  verify that illegally cast ballots were not opened and counted.

  Answer: Denied.

203.    Paragraph 203 of Plaintiffs’ Complaint states:

                                     105
  Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 108 of 112




  Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs
  access to and/or obstructed actual observation and monitoring of the
  absentee and mail-in ballots being pre-canvassed and canvassed by
  Defendants, and included the unlawfully not counting and including
  uncounted mail ballots, and that they failed to follow absentee ballot
  requirements when thousands of voters received ballots that they never
  requested. Defendants have acted and will continue to act under color of
  state law to violate the right to vote and due process as secured by the
  Fourteenth Amendment to the United States Constitution.

  Answer: Denied.

204.    Paragraph 204 of Plaintiffs’ Complaint states:

  Plaintiffs have no adequate remedy at law and will suffer serious and
  irreparable harm unless the injunctive relief requested herein is granted.

  Answer: Denied.

205.    Paragraph 205 of Plaintiffs’ Complaint states:

  When we consider the harm of these uncounted votes, and ballots not
  ordered by the voters themselves, and the potential that many of these
  unordered ballots may in fact have been improperly voted and also
  prevented proper voting at the polls, the mail ballot system has clearly failed
  in the state of Georgia and did so on a large scale and widespread basis. The
  size of the voting failures, whether accidental or intentional, are multiples
  larger than the margin in the state. For these reasons, Georgia cannot
  reasonably rely on the results of the mail vote.

  Answer: Denied.

206.    Paragraph 206 of Plaintiffs’ Complaint states:

  Relief sought is the elimination of the mail ballots from counting in the 2020
  election. Alternatively, the Presidential electors for the state of Georgia
  should be disqualified from counting toward the 2020 election.
                                    106
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 109 of 112




      Answer: The Democratic Political Party Committees admit that the Plaintiffs

      seek the relief described in Paragraph 206 but deny that the Plaintiffs have

      established any cognizable claim entitling them to such relief.

   207.      Paragraph 207 of Plaintiffs’ Complaint states:

      The United States Code (3 U.S.C. 5) provides that,

      “[i]f any State shall have provided, by laws enacted prior to the day fixed for
      the appointment of the electors, for its final determination of any
      controversy or contest concerning the appointment of all or any of the
      electors of such State, by judicial or other methods or procedures, and such
      determination shall have been made at least six days before the time fixed
      for the meeting of the electors, such determination made pursuant to such
      law so existing on said day, and made at least six days prior to said time of
      meeting of the electors, shall be conclusive, and shall govern in the counting
      of the electoral votes as provided in the Constitution, and as hereinafter
      regulated, so far as the ascertainment of the electors appointed by such State
      is concerned. 3 USCS § 5.

      Answer: The Democratic Political Party Committees admit that the quoted

      language is from 3 U.S.C. § 5 and deny each other or different allegations.

                             REQUEST FOR RELIEF
      Answer: The Democratic Political Party Committees deny that the Plaintiffs

are entitled to any of the requested relief set forth in the Prayer for Relief section of

Plaintiffs’ Complaint.




                                          107
      Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 110 of 112




                            AFFIRMATIVE DEFENSES

      The Democratic Political Party Committees assert the following affirmative

defenses without accepting any burdens regarding them.

                         FIRST AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred in whole or in part because this Court lacks

jurisdiction to adjudicate Plaintiffs’ claims.

                         SECOND AFFIRMATIVE DEFENSE

      Plaintiffs lack standing to assert their claims.

                         THIRD AFFIRMATIVE DEFENSE

      Plaintiffs’ Compliant fails, in whole or in part, to state a claim upon which

relief can be granted.

      The Democratic Political Party Committees reserve the right to assert any

further defenses that may become evident during the pendency of this matter.

           PROPOSED INTERVENORS’ REQUEST FOR RELIEF

      Having answered Plaintiffs’ Complaint, the Democratic Political Party

Committees request that the Court:

          1. Deny Plaintiffs are entitled to any relief;

          2. Dismiss Plaintiffs’ Complaint with prejudice;


                                          108
     Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 111 of 112




        3. Award the Democratic Political Party Committees their costs and

           attorneys’ fees incurred in defending against Plaintiffs’ claims in

           accordance with 42 U.S.C. § 1988; and

        4. Grant such other and further relief as this Court deems just and

           proper.


Dated: November 30, 2020.            Respectfully submitted,

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                                      109
Case 1:20-cv-04809-TCB Document 44 Filed 12/03/20 Page 112 of 112




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                              110
